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                                 2023-1454

              United States Court of Appeals
                  for the Federal Circuit

                     ANDREA ELECTRONICS CORPORATION,

                                                         Appellant,

                                    – v. –

                                 APPLE INC.,

                                                         Appellee.


         On Appeal from the United States Patent and Trademark Office,
             Patent Trial and Appeal Board in No. IPR2017-00626

                         BRIEF FOR APPELLANT

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         RELEVANT CLAIMS OF U.S. PATENT NO. 6,363,345 B1


1. An apparatus for canceling noise, comprising:
      an input for inputting an audio signal which includes a noise signal;
      a frequency spectrum generator for generating the frequency spectrum of said
      audio signal thereby generating frequency bins of said audio signal; and
      a threshold detector for setting a threshold for each frequency bin using a noise
      estimation process and for detecting for each frequency bin whether the
      magnitude of the frequency bin is less than the corresponding threshold,
      thereby detecting the position of noise elements for each frequency bin.

4. The apparatus according to claim 1, wherein said threshold detector sets the
threshold for each frequency bin in accordance with a current minimum value of the
magnitude of the corresponding frequency bin; said current minimum value being
derived in accordance with a future minimum value of the magnitude of the
corresponding frequency bin.

5. The apparatus according to claim 4, wherein said future minimum value is
determined as the minimum value of the magnitude of the corresponding frequency
bin within a predetermined period of time.

6. The apparatus according to claim 5, wherein said current minimum value is set
to said future minimum value periodically.

7. The apparatus according to claim 6, wherein said future minimum value is
replaced with the current magnitude value when said future minimum value is
greater than said current magnitude value.

8. The apparatus according to claim 6, wherein said current minimum value is
replaced with the current magnitude value when said current minimum value is
greater than said current magnitude value.

9. The apparatus according to claim 5, wherein said future minimum value is set to
a current magnitude value periodically; said current-magnitude value being the
value of the magnitude of the corresponding frequency bin.

Appx0038.



                                   [inside cover]
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                         CERTIFICATE OF INTEREST

I certify the following information is accurate and complete to the best of my
knowledge.
Date: May 31, 2023                      /s/William D. Belanger
                                        William D. Belanger

       1. Represented               2. Real Party in          3. Parent Corporations
           Entities.                    Interest.                and Stockholders.
   Fed. Cir. R. 47.4(a)(1).     Fed. Cir. R. 47.4(a)(2).       Fed. Cir. R. 47.4(a)(3).
 Provide the full names of    Provide the full names of      Provide the full names of
 all entities represented     all real parties in interest   all parent corporations
 by undersigned counsel       for the entities. Do not       for the entities and all
 in this case.                list the real parties if       publicly held companies
                              they are the same as the       that own 10% or more
                              entities.                      stock in the entities.

                               X None/Not                     X None/Not
                              Applicable                     Applicable

 Andrea Electronics
 Corporation


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).

      None/Not Applicable                        Additional pages attached

 Andrew Schultz               Sean Gloth

 Griffin Mesmer               Pepper Hamilton LLP

 Bradley T. Lennie



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5. Related Cases. Provide the case titles and numbers of any case known to be
pending in this court or any other court or agency that will directly affect or be
directly affected by this court’s decision in the pending appeal. Do not include
the originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also
Fed. Cir. R. 47.5(b).

     None/Not Applicable                       Additional pages attached

  Andrea Electronics
 Corporation v. Apple,
         Inc.
 EDNY 2:16-cv-05220




6. Organizational Victims and Bankruptcy Cases. Provide any information
required under Fed. R. App. P. 26(b) (organizational victims in criminal cases)
and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).

 X    None/Not Applicable                      Additional pages attached




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                     STATEMENT OF RELATED CASES

      This appeal arises from a remand proceeding before the U.S. Patent and

Trademark Office Patent Trial and Appeal Board (“Board”), regarding Inter Partes

Review (“IPR”) proceeding No. IPR2017-00626 (the “626 IPR”), filed against U.S.

Patent No. 6,363,345 (“the ’345 Patent”) by Appellee Apple Inc. (“Petitioner”).

Petitioner also filed another IPR proceeding against the ’345 Patent, proceeding No.

IPR2017-00627 (the “627 IPR”). On July 12, 2018, the Board issued Final Written

Decisions in the 626 IPR (Paper 28) and the 627 IPR (Paper 23) (respectively, the

“First IPR Decision” and the “627 IPR Decision”).

      The First IPR Decision and the 627 IPR Decision were appealed to this Court.

On February 7, 2020, this Court issued a decision in Appeal Nos. 2018-2382 and

2018-2383 relating to the 626 IPR and the 627 IPR. Apple Inc. v. Andrea Electronics

Corp., 949 F.3d 697 (Fed. Cir. 2020) (hereafter Andrea I). Andrea I, inter alia,

remanded the 626 IPR back to the Board for consideration of whether claims 6-9 of

the ’345 Patent are rendered obvious by a combination of the Hirsch and Martin

references (defined below) (the “First Remand”). In connection with the First

Remand, on October 28, 2020, the Board issued its Judgment Final Written Decision

on Remand Determining Challenged Claims 6-9 Are Unpatentable (the “Second IPR

Decision”). On November 13, 2020, Appellant Andrea Electronics Corporation

(“Andrea”) appealed the Second IPR Decision to this Court and on April 22, 2022,


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this Court issued a decision in Appeal No. 2021-1248, affirming the Board’s

decision that Martin discloses the limitations of claim 9 of the ’345 Patent but

remanded the 626 IPR back to the Board for consideration of whether there was a

motivation to combine Hirsch and Martin with respect to claims 6-9. Andrea

Electronics Corp. v. Apple, Inc., No. 2021-1248, 2022 WL 1197341, at *4 (Fed. Cir.

Apr. 22, 2022) (unpublished) (hereafter Andrea II). On November 29, 2022, the

Board issued its Judgment Final Written Decision Determining Challenged Claims

6-9 Are Unpatentable (the “Third IPR Decision”), which is appealed here.

      The ’345 Patent is asserted in a related pending litigation captioned Andrea

Electronics Corporation v. Apple Inc., Case No. 2:16-cv-05220 (E.D.N.Y.), which

has been stayed pending this appeal.




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                        JURISDICTIONAL STATEMENT

        This appeal arises from the 626 IPR. The Board had jurisdiction over the 626

IPR under 35 U.S.C. § 314 and issued the Third IPR Decision regarding the ’345

Patent on November 29, 2022, which is a final and appealable decision. Appx0001-

0019.

        This Court has jurisdiction under 35 U.S.C. § 319 and 28 U.S.C.

§ 1295(a)(4)(A).




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                        STATEMENT OF THE ISSUES

      (1)    Did the Board err by: (a) assuming that Andrea does not dispute that

Hirsch “specifically identifies Martin as a solution to th[e] problem” of “speech

pause detection to estimate noise … particularly in non-stationary noise settings”

when Andrea expressly contested that; and (b) relying on Hirsch’s purported silence

about non-stationary noise as the basis for its determination that it would have been

obvious to combine Martin with Hirsch?

      (2)    Did the Board err in its assessment of Andrea’s evidence that there is

no motivation to combine? In particular:

             (a) did the Board err in failing to consider any of Andrea’s arguments

      and evidence other than those identified as examples by this Court in its

      Andrea II decision?

             (b) did the Board err in finding that Hirsch shows a need for

      improvement in non-stationary noise environments by impermissibly relying

      on a reference’s silence to prove motivation to combine and by shifting the

      burden of proof to Andrea after rejecting the evidence from both parties?

             (c) did the Board err in determining that Hirsch does not disparage

      Martin by creating a new argument not raised by any party in violation of

      the Administrative Procedure Act, impermissibly serving as its own expert

      witnesses after rejecting the evidence presented by both parties, and


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inconsistently interpreting Hirsch and Martin in an arbitrary and capricious

manner?

      (d) did the Board err by failing to answer this Court’s question on

remand about whether Hirsch obviates the need to address speech pause

detection by relying on irrelevant and conclusory testimony from Petitioner?




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                                INTRODUCTION

      This Court remanded to the Board with clear instructions: to make specific

findings on “why a skilled artisan would have specifically incorporated Martin’s

noise power estimation algorithm into Hirsch’s spectral subtraction system or

threshold calculation.” Appx1976-1977. Rather than consider the record evidence

on that issue, the Board’s Third IPR Decision assumes away the central issue, relying

on the false premise that “there is no dispute that Hirsch … specifically identifies

Martin as a solution” to the “problem of speech pause detection to estimate noise …

particularly in non-stationary noise settings.” The Board cites to no record evidence

to support this assertion and Andrea has disputed this contention in every paper filed

since the beginning of this IPR.      See, e.g., Appx0673-0677, Appx0764-0767,

Appx0843-0844, Appx1984-1985. While Hirsch does reference Martin, it does so

only to explain that Martin’s teachings are different and insufficient. Appx0448.

Tellingly, the Board’s discussion on whether Petitioner met its burden relies only on

Hirsch’s reference to Martin, omitting any discussion whatsoever of Hirsch’s

discussion of the “disadvantage” of known approaches from the very next sentence.

This violates the long-standing requirement that the Board consider the prior art

references as a whole.

      The only section where the Board addresses Hirsch’s discussion of

“disadvantage[s]” is in its determination of whether Andrea has rebutted Petitioner’s



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arguments. This is improper and is not form over substance. The Board cannot

cherry pick portions of Hirsch to find that Petitioner met its burden, then require

Andrea to disprove Petitioner’s case. Rather, the Board must consider the teachings

of the references as a whole. See, e.g., In re Warsaw Orthopedic, Inc., 832 F.3d

1327, 1332 (Fed. Cir. 2016). Selective reliance on only portions of a reference

invites improper hindsight bias – which is exactly what the Board did here.

      Having accepted that Petitioner met its burden of proving motivation to

combine, the Board addressed what it called Andrea’s “[r]ebuttal” arguments. In

doing so, the Board first erred by considering only the exemplary arguments that this

Court identified in its Andrea II decision. Appx0007-0014. It ignored the other

evidence that Andrea advanced to show lack of motivation to combine. To the extent

that the Board was confused about what Andrea’s actual arguments were, Andrea

provided as much clarity as the Board would allow. Andrea requested briefing on

remand, but the Board permitted only the submission of a list of citations. Each of

the additional arguments that the Board failed to address are plainly advanced within

the citations on Andrea’s list.

      Further, the Board’s analysis of this Court’s three exemplary arguments

furthermore contains numerous errors, including misconstruing the record, shifting

the burden to Andrea, reaching internally inconsistent conclusions, and failing to

support findings with substantial evidence. First, the Board addressed whether



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Hirsch shows a need for improvement and whether Martin provides that

improvement. The Board found, incorrectly, that all parties agree that Hirsch is

silent on its performance in non-stationary noise. Andrea disputes this contention

and the Board cited to no evidence other that a purported agreement to support it.

But, even if the Board properly determined that Hirsch is silent on non-stationary

noise, it gives no explanation for why silence establishes the existence of a

motivation to combine, nor does it cite to any supporting authority. It cannot be that

any reference that is silent on its performance in a particular setting can be combined

with another reference that describes that setting. Such a finding would eviscerate

the motivation to combine requirement.

      Second, the Board addresses whether Andrea proved that Hirsch disparages

Martin. It finds that there is no disparagement because Hirsch may not have been

referring to Martin when it discussed “disadvantage[s].” The Board cites to nothing

in the record to support this speculative finding. Further, no party raised this

argument, meaning the Board’s reliance on it violates the Administrative Procedure

Act (“APA”) by depriving Andrea of the opportunity to develop a record against it.

Regardless, the evidence of record undermines the Board’s finding, since both

parties’ experts agree that Hirsch is referring to Martin in discussing

“disadvantage[s]” of known “approaches.”




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      Third, this Court asked the Board to make specific findings of fact on whether

Andrea proved that Hirsch obviates the need to address speech pause detection. The

Board finds in Petitioner’s favor, citing only conclusory and irrelevant evidence in

support. Specifically, it relies on Petitioner’s expert’s statement that “techniques

addressing particular challenges or issues … are routinely added to or used to modify

an existing noise reduction scheme.” Appx0014 (quoting Appx0108). This has

nothing to do with obviating the need for speech pause detection and, as such, does

not answer the question on remand.

      Finally, the Board found that Andrea had not shown that Hirsch and Martin

could not be combined in a manner that would work for its intended purpose.

Appx0015-0016. In doing so, the Board shifted the burden of proof to Andrea to

“allege [] specific fault in the Petition,” rather than holding Petitioner to its burden

of proof. Further, the Board errs in ignoring most of the evidence that Andrea put

into the record to show that Petitioner had not proven how Hirsch and Martin could

be combined, other than impermissibly relying on the claims as a roadmap.

      The Board’s analysis strikes out on its third attempt to find a motivation to

combine Hirsch with Martin. This Court should reverse and find the claims not

unpatentable. Remand, while sought in the alternative, is not sufficient. This Court

remanded with instructions to make findings of fact on motivation to combine.




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Where, as here, the evidence of record cannot support a motivation to combine,

reversal of the Board’s decision is appropriate.




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                           STATEMENT OF THE CASE

I.    THE RELEVANT TECHNOLOGY

      The ’345 Patent discloses inventions that, among other things, break an audio

signal into its constituent frequency components, called “frequency bins,” using a

“frequency spectrum generator,” for example, a Fast Fourier Transform (FFT).

Appx0034, Appx0817. The claimed inventions can detect and cancel noise on a

frequency-bin-by-frequency-bin basis by setting an “adaptive threshold” for each

frequency bin, which is used to delineate noise from the desired signal (e.g., speech).

Appx0035-0036, Appx0817.

      Adaptive thresholds are set based on the magnitude characteristics of the

samples within each bin. Appx0036, Appx0817. The inventions described in the

’345 Patent and claimed in claims 6-9 set the threshold using a cascading minimum

determination process. Appx0817. “In the threshold determination process, for each

frequency bin, two minimum values are calculated,” a “current minimum” and a

“future minimum.” Appx0036, Appx0817-0818. “The current minimum value is

used by the [noise] subtraction process, while the future minimum is used for the

initiation and refreshing of the current minimum.” Appx0036, Appx0817-0818.

      First, a “future minimum” is determined as the minimum magnitude of the

frequency bin for a given period of time. Appx0036, Appx0817-0818. In an

example embodiment, this period is “5 seconds.” Appx0036, Appx0817-0818.



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Each time this five-second period elapses, the “future minimum” value is used to

initiate the “current minimum” parameter to be used for the next five-second period.

Appx0036, Appx0817-0818.

      Over each five-second period for which it is initiated, the “current minimum”

is compared to each sample in the frequency bin over that period, and its value is

updated whenever the magnitude of a sample in the frequency bin is less than the

“current minimum’s” value. Appx0036, Appx0817-0818.




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Appx0026. As illustrated in Figure 3, for each five-second period, the “current

minimum” value for that frequency bin is ultimately determined as the smallest

magnitude value within the frequency bin corresponding to that period.

      After each such five-second period has elapsed, the “current minimum” is

once again “initiated ... with the value of the future minimum that was determined

over the previous 5 seconds,” and the current minimum value is used to set the

“threshold.”    Appx0036, Appx0817-0818.       In the preferred embodiment, the

minimum is scaled by a factor of 4, and this scaled minimum (“4*Min”) serves as

the threshold. Appx0036, Appx0026, Appx0818.

      The threshold detector then compares the set threshold to the actual magnitude

of the signal. Appx0036, Appx0818. Where the magnitude of the signal is less than

the threshold, the noise estimate is updated using the magnitude value (“New Data”).

Appx0026, Appx0818. The updated noise estimate is then used in the subtraction

process to cancel noise from the signal. Appx0036-0037, Appx0818.

II.   THE RELEVANT PRIOR ART

      A.       Hirsch

      Hirsch discloses a noise estimation technique that does not require an explicit

speech pause detection. Appx0448, Appx0451. Hirsch acknowledges that while

noise estimation techniques without explicit speech pause detection were known in

the art, they suffered from the “disadvantage” of “the need of relatively long past



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segments of noisy speech.” Appx0448. Hirsch specifically identifies Martin as one

of these known noise estimation techniques with that “disadvantage.” Appx0448,

Appx0451 (citing article [6], which corresponds to Martin).

      Hirsch seeks to overcome the disadvantage of the previously known noise

estimation techniques (i.e., Martin), by proposing two techniques to estimate noise

characteristics for noisy speech signals.       Appx0448-0449, Appx0820-0821.

Hirsch’s first technique involves an algorithm that calculates noise magnitude levels

for each frequency subband using adaptive thresholds. Appx0448, Appx0820-0821.

Hirsch’s second technique evaluates the histograms of past spectral magnitude

values corresponding to noise segments in signal subbands, taking the maximum as

a noise magnitude level estimation. Appx0449, Appx0821.

      Hirsch avoids the need for these long past segments through a simple recursive

accumulation of the signal power until the signal power exceeds the adaptive

threshold. Appx0448-0449, Appx0820-0821. When the threshold is exceeded,

Hirsch stops the recursive accumulation of signal power, thus providing an estimate

of the noise level. Appx0448-0449, Appx0820-0821. In other words, Hirsch’s noise

estimate is derived by measuring the signal power during a period when no speech

is detected. Appx0448-0449. This allows Hirsch’s technique to operate with only

“[p]ast noisy segments of just about 400 ms duration” for the noise estimate.

Appx0448.



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      Petitioner concedes that Hirsch does not disclose the claimed “current

minimum” and “future minimum” limitations of claims 4-9. Appx0104-0105,

Appx1953-1959.

      B.    Martin

      As noted in Hirsch, Martin describes a noise reduction technique that

“avoid[s] the problem of speech pause detection” but has the “disadvantage” of

needing “relatively long past segments of noisy speech.” Appx0448. Unlike

Hirsch’s simple noise reduction technique, Martin’s algorithm uses a complex noise

estimation process to compute signal-to-noise ratio values in the multiple

subwindow context. Appx0453, Appx0822. Martin’s algorithm tracks varying

noise power levels during speech activity and achieves its stated improvement by

distinguishing between conditions where the noise signal’s power is not

monotonically increasing (i.e., slowly varying) and conditions where the signal’s

power is monotonically increasing (i.e., rapidly varying).       Appx0452-0453,

Appx0822-0826. Martin is able to distinguish between these two noise cases by

using a window of length L divided into additional windows, or subwindows.

Appx0453, Appx0822. Martin provides an example of how its algorithm works

using four subwindows (W=4). Appx0453. For each incoming subwindow, Martin

determines the minimum sample power value across the subwindow. Appx0453.

The minimum sample power value for the subwindow is determined by comparing



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the incoming sample power values against PMmin, which is the current minimum

power value for the current subwindow. Appx0453.

      Martin’s algorithm determines noise estimates in different ways depending on

whether the signal is or is not monotonically increasing, as shown in the purple and

red boxes in annotated Figure 2 from Martin:




Appx0823, Appx0453 (annotated). If the noise signal power is monotonically

increasing (i.e., rapidly varying), Martin’s noise estimate is determined by taking the



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minimum power value over the previous subwindow.            Appx0453, Appx0824.

However, if the noise signal power is not monotonically increasing (i.e., slowly

varying), then Martin’s noise estimate is determined by taking the minimum power

value over the previous window (which consists of multiple subwindows).

Appx0453, Appx0823-0824. This multiple subwindow approach is more complex,

and as noted in Hirsch, is disadvantageous because it requires relatively long past

segments of noisy speech. Appx0448, Appx0840-0843.

      Martin specifically found that “a window length of 0.625 s is a good value.”

Appx0453, Appx0829. In arriving at this optimum window length, Martin noted

that “[t]he window length L = M * W must be large enough to bridge any peak of

speech activity, but short enough to follow non stationary noise variations.”

Appx0453, Appx0829. This 0.625 second window length provides a sufficient

number of data points to allow Martin’s algorithm to determine the behavior of the

noise signal (e.g., whether it is slowly or rapidly varying).      See Appx0829,

Appx0453.

      Martin observes that its signal-to-noise ratio (SNR) “is biased when no speech

is present.” Appx0454. As a result, Martin’s algorithm is “accurate for medium to

high SNR conditions but necessarily biased when no speech is present.” Appx0455.

In other words, Martin acknowledges inaccuracy in its SNR estimate when no

speech is present. Appx0844.



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       Lastly, Martin notes that its noise suppression “is limited” because its

algorithm “subtract[s] slightly biased noise power estimates (ofactor = 1.5).”

Appx0455.

III.   THIS COURT’S PRIOR APPEAL DECISIONS, THE 626 REMANDS,
       AND THE REMAND DECISIONS

       A.    This First IPR Decision And This Court’s First Remand Decision

       This Court reviewed the Board’s First IPR Decision where the Board found,

inter alia, that claims 6-9 were patentable over Hirsch and Martin. Appx1778-1800.

In particular, the Board found claims 6-9 are patentable because it found that a

POSITA would not have been motivated to combine Hirsch with Martin in the

manner originally proposed by Petitioner, where Martin was configured to use only

a single subwindow (W=1). Appx1731-1738.

       This Court reversed, finding that Petitioner’s multiple subwindow scenario

for Martin was not improperly raised for the first time in Petitioner’s Reply Brief

and remanded for the Board to consider the combination of Hirsch with Martin’s

multiple subwindow scenario and whether that combination rendered obvious claims

6-9 of the ’345 Patent. Appx1791-1794.

       On remand, the parties submitted simultaneous opening briefs (Appx1822-

1836, Appx1854-1868) directed to the patentability of claims 6-9, responsive briefs

(Appx1869-1878, Appx1879-1887), and supplemental briefing (Appx1892-1897,

Appx1936-1941) focused on claim 9. Those briefs discussed whether a POSITA


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would have been motivated to replace Hirsch’s simple noise estimation algorithm

with Martin’s complex multiple subwindow noise floor estimator and whether that

combination of Hirsch and Martin rendered obvious claims 6-9. The parties did not

request, and the Board did not authorize, the submission of any new evidence in the

remand proceeding. Appx1890.

      B.     The Second IPR Decision

      On remand, the Board found claims 6-9 unpatentable in view of the

combination of Hirsch and Martin in the multiple subwindow scenario. In particular,

the Board found that a POSITA would have combined Hirsch and Martin because

the Board, along with this Court, had already resolved that issue. Appx1959. The

Board relied on a single conclusory sentence from its First IPR Decision noting that

“‘one skilled in the art would have considered Martin’s teachings, generally, when

reviewing the teachings of Hirsch, as Martin is specifically referenced in Hirsch

itself.’” Appx1959 (citing Appx1735). The Board went on to explain that “[t]o the

extent Patent Owner’s contentions regarding Petitioner’s rationale to combine the

teachings of Martin with those of Hirsch are still at issue, we agree with Petitioner

that one skilled in the art would have considered using the multiple subwindow

approach taught by Martin in Hirsch’s system.” Appx1959. The Board cited to

nothing to support this finding. Appx1959. It went on to quote KSR International

Co. v. Teleflex Inc., for the general proposition that “‘[w]hen a work is available in



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one field, design incentives and other market forces can prompt variations of it,

either in the same field or in another.’” Appx1959 (quoting 550 U.S. 398, 401

(2007)). However, the Board made no findings on design incentives or other market

forces.

      C.    This Court’s Remand Of The Second IPR Decision

      This Court reversed and remanded the Board’s Second IPR Decision finding

claims 6-9 unpatentable in view of the combination of Hirsch and Martin.

Appx1968-1969. Specifically, this Court found that the Board failed to address the

motivation to incorporate Martin’s noise estimation algorithm into Hirsch’s spectral

subtraction system:

            Hirsch does refer to Martin as a known approach to avoid
            the problem of speech pause detection to estimate noise
            and, based on that, it was reasonable for the Board to find
            that a skilled artisan would have considered Martin’s
            teachings generally when reviewing Hirsch. But neither
            the Board nor this court addressed why a skilled artisan
            would have specifically incorporated Martin’s noise
            power estimation algorithm into Hirsch’s spectral
            subtraction system or threshold calculations.…In addition,
            neither the Board nor this court addressed any of the
            specific motivation issues contested by Andrea. These
            include, for example, whether: Hirsch shows a need for
            improvement in nonstationary noise environments and
            whether Martin provides such improvement…; Hirsch
            obviates the need to address the speech pause detection
            problem and, therefore, a skilled artisan would not have
            looked to Martin to address the problem, … and Hirsch
            disparages Martin because of “the need of relatively long
            past segments of noise speech” and the “significant



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             difference” in time requirements between Martin and
             Hirsch.

Appx1976-1977 (citation omitted). This Court further found that the Board’s

analysis of “design incentives” and “other market forces,” as well as its conclusion

that Hirsch did not teach away from Martin, were also insufficient because the

Board made no factual findings. Appx1977 (citing In re Nuvasive, 842 F.3d 1376,

1383 (Fed. Cir. 2016)).

      D.     The Third IPR Decision

      On remand, Andrea and Petitioner requested the ability to submit additional

briefing to address Petitioner’s purported motivation to combine Hirsch and Martin.

Appx1981. The Board denied this request, permitting the parties only to submit

authorized citation lists, identifying the portions of the record that the Board should

consider. Appx1981. Andrea cited to its discussion of a lack of motivation to

combine in its Patent Owner Response and Sur-Reply, the First IPR Decision

(finding no motivation to combine), Andrea’s briefing after this Court’s First

Remand, and this Court’s Andrea II decision. Appx1984-1985.

      In its Third IPR Decision, the Board recognized that this Court remanded for

the Board to “‘address[] why a skilled artisan would have specifically incorporated

Martin’s noise power estimation algorithm into Hirsch’s spectral subtraction system

or threshold calculation’ and to ‘address[] any of the specific motivation issues

contested by [Andrea].’” Appx0004 (citing Appx1976-1977). The Board further


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recognized that its task on remand was to “make specific fact findings related to

whether/why Martin’s noise power estimation algorithm would have been

incorporated into Hirsch.” Appx0004.

      The Board first found that Petitioner had met its burden of proving that a

POSITA would have been motivated to combine Hirsch with Martin. Appx0005-

0006. The Board based its determination on an incorrect assumption that “there is

no dispute that Hirsch specifically identifies the problem of speech pause detection

to estimate noise, and specifically identifies Martin as a solution to that problem,

particularly in non-stationary noise settings.” Appx0005. Andrea strenuously

disputes this proposition because, the sentence after Hirsch references Martin,

Hirsch explains that the “disadvantage of most approaches is the need of relatively

long past segments of noisy speech.”          Appx0448.     Without discussing this

explanation from Hirsch, the Board found that Martin supports a motivation to

combine because Martin “discuss[es] testing of the algorithm in non-stationary noise

settings and conclud[es] that the arrangement ‘provides a computational[ly]

inexpensive and effective mean to cope with th[e] problem.’” Appx0005 (quoting

Appx0455). The Board’s understanding of Martin is incorrect because “th[e]

problem” that Martin is actually referring to is not non-stationary noise, but rather

“varying noise levels.” Appx0455. The Board found that Hirsch likewise supports

a finding of motivation to combine because “there is no dispute that Hirsch is silent



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as to the effectiveness of its technique in non-stationary noise environments.”

Appx0005 (citing Appx0108, Appx0449, Appx0776, Appx0843-0844, Appx1861).

None of the citations from the Board supports that there is such agreement. In fact,

this is a misrepresentation of Andrea’s longstanding position, which is that:

“[n]either [Petitioner] nor its expert provides any basis as to why a skilled artisan

would understand that the techniques described in Hirsch would have needed to be

improved upon for use in non-stationary noise environments.” Appx0766 (citing

Appx0843-0844).

      The Board then analyzed what it called Andrea’s “[r]ebuttal” arguments.

Appx0007-0014. The Board first rejected Andrea’s argument that Hirsch does not

show a need for improvement, reiterating that Andrea agreed that Hirsch is “silent”

on non-stationary noise. Appx0007. Finding that silence showed the need for an

improvement (Appx0007), the Board then determined that Martin provided the

improvement that Hirsch needed. Appx0007-0008. In support, the Board reiterated

its finding that Martin’s algorithm is capable of tracking “non[-]stationary noise

signals and has a low computational complexity.” Appx0007 (citing Appx0452).

The Board rejected the evidence from Andrea’s expert that Martin does not provide

an improvement because Martin itself states that his “estimate is biased when no

speech is present” and that his “algorithm is accurate for medium to high SNR

conditions but necessarily biased when no speech is present.” Appx0008-0009



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(quoting Appx0843-0844). In doing so, the Board misunderstood Martin’s teachings

about a “slight[ly] biased noise power estimate” with its discussion that the

algorithm is “necessarily biased when no speech is present.” Compare Appx0009

with Appx0455.

      Second, the Board rejected Andrea’s argument that Hirsch disparages Martin.

Appx0009-0013.       The Board first found that Hirsch’s discussion of the

“disadvantage[]” of the “need for relatively long past segments of noisy speech”

only applies to “most approaches” and thus may not be referring to Martin.

Appx0009-0010 (quoting Appx0448). No party ever raised this argument. In fact,

both parties agree that Hirsch is referring to Martin in its discussion of

“disadvantages.” Appx0401, Appx1001. The Board then assessed the parties’

competing expert testimony regarding whether a 225 millisecond difference in past

segments of noisy speech between Hirsch and Martin’s algorithms is significant.

Appx0010-0011. The Board rejected the evidence from both parties. Appx0010-

0011. But rather than finding that this means Petitioner did not meet its burden, the

Board found that it could substitute its own judgment on significance. Appx0010-

0011. Finally, the Board found that it had no evidence that would allow it to “to

compare Hirsch and Martin with respect to effectiveness in noise settings” but that

a POSITA would have appreciated the tradeoffs between the two techniques, citing

Petitioner’s expert’s conclusory testimony. Appx0012-0013.



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        Third, the Board rejected Andrea’s argument that Hirsch developed an

algorithm that did not need speech pause detection and thus POSITA would not have

combined it with Martin to address problems of speech pause detection. Appx0013-

0014.    In doing so, the Board relied entirely on conclusory testimony from

Petitioner’s expert on the irrelevant point that “[t]he practices followed by the Hirsch

authors is consistent [with] the general approach followed by those working in the

field of noise reduction, where techniques addressing particular challenges or issues

(e.g., noise reduction in nonstationary sound environment) are routinely added to or

used to modify an existing noise reduction scheme.” Appx0014 (quoting Appx0108

(citing Appx0399-0400)).

        Finally, the Board assessed how Hirsch and Martin could be combined, in case

that issue remained on appeal. The Board incorrectly determined that Andrea had

not alleged fault in the combination presented in the Petition. Appx0015. In doing

so, the Board ignores significant portions of Andrea’s papers filed below.

IV.     SUMMARY OF ARGUMENT

        Where, as here, the record does not contain evidence sufficient to support a

finding of obviousness, reversal – not remand – is appropriate. See, e.g., Google

LLC v. Ji-Soo Lee, 759 Fed. Appx. 992, 996 (Fed. Cir. 2019) (holding reversal, not

remand, is appropriate when the record makes clear that the Board’s holding is not

supported by substantial evidence) (citing Corning v. Fast Felt Corp., 873 F.3d 896,



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901-09 (Fed. Cir. 2017) (reversing, rather than remanding, when “only one answer

is supported by substantial evidence”) & Belden Inc. v. Berk-Tek LLC, 805 F.3d

1064 (Fed. Cir. 2015) (reversing, rather than remanding, when “the record is one-

sided”)). After three tries, Petitioner and the Board have failed to articulate actual

facts that show that a POSITA would have been motivated to combine Hirsch with

Martin without the benefit of Andrea’s claims as a roadmap.

      A.     The Board’s Determination That Petitioner Met Its Burden Is
             Reversible Error

      The entirety of the Board’s determination on whether Petitioner met its burden

on motivation to combine is just a page and a half. Appx0005-0006. In that brief

analysis, the Board first finds that there is no dispute that “Hirsch specifically

identifies the problem of speech pause detection to estimate noise, and specifically

identifies Martin as a solution to that problem, particularly in non-stationary noise

settings.” Appx0005. Contrary to the Board’s finding of agreement, Andrea has

disputed this point from the beginning. See, e.g., Appx00762-0764, Appx0839-

0847. Nothing in Hirsch says that Martin is a “solution.” In fact, it says the opposite.

Hirsch states “[s]ome approaches are known to avoid the problem of speech pause

detection and to estimate the noise characteristics just from a past segment of noisy

speech.” Appx0448 (citing Martin, emphasis added). But the very next sentence

states: “[t]he disadvantage of most approaches is the need of relatively long past

segments of noisy speech.” Appx0448 (emphasis added).


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      The Board does not address this second sentence at all before finding that

Petitioner had met its burden. Appx0005-0006. This is legal error because the law

does not permit the Board to analyze individual sentences in a prior art reference

without the context of the rest of the reference. To the extent that the Board analyzed

this sentence later in determining whether Andrea rebutted Petitioner’s showing, that

approach was error because it put the burden on Andrea to prove the absence of a

motivation to combine. In re Magnum Oil Tools Int’l, Ltd, 829 F.3d 1364, 1375-76

(Fed. Cir. 2016).

      The Board then supports its finding of motivation to combine by again

assuming that Andrea agrees that Hirsch is silent on non-stationary noise

environments. The position that Andrea actually took is that there is no indication

that Hirsch does not already work in non-stationary noise environments, meaning

there is no indication that Hirsch needs to be improved for such environments.

Appx0765-0766, Appx0448. The Board cannot satisfy this Court’s charge to

“address[] why a skilled artisan would have specifically incorporated Martin’s noise

power estimation algorithm into Hirsch’s spectral subtraction system” by stating that

Andrea agrees with a proposition that Andrea expressly contests. Appx1976-1977

(citing In re Sang Su Lee, 277 F.3d 1338, 1343 (Fed. Cir. 2002) (motivation is

needed for making the “specific combination that was made by the applicant.”)).




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      But, even if the Board had not misstated the record, the Board cites to no

authority that silence establishes the existence of a motivation to combine. Indeed,

this Court’s authority holds the opposite, that “mere possibility is not enough.”

PersonalWeb Techs., Inc. v. Apple, Inc., 917 F.3d 1376, 1382 (Fed. Cir. 2019);

Polaris Indus., Inc. v. Arctic Cat, Inc., 882 F.3d 1056, 1068 (Fed. Cir. 2018). A

finding that a reference’s silence is sufficient would greatly and unjustifiably expand

the Board’s ability to find motivation to combine using improper and impermissible

hindsight. In view of the record here, the Board’s decision makes even less sense

because Hirsch and Martin teach systems that each provide a complete solution.

Appx0448, Appx0452. The Board relies on positive statements in Martin to find

that a POSITA would understand that Martin teaches a desirable improvement.

Appx0005, Appx0007-0008. But in analyzing Hirsch, the Board completely ignores

almost identical language to reach the conclusion that Hirsch needs to be improved.

This inconsistency shows that the Board is impermissibly using the claims as a

roadmap to help Petitioner establish a motivation to combine. TQ Delta, LLC v.

CISCO Sys., Inc., 942 F.3d 1352, 1361 (Fed. Cir. 2019).

      B.     The Board’s Rejection Of Andrea’s Counterarguments Is
             Reversible Error

      After finding that Petitioner met its burden, the Board determined whether

Andrea’s “[r]ebuttal” arguments command a different conclusion. Appx0007-0014.

The Board erred in its assessment of Andrea’s arguments by ignoring evidence of


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record, shifting the burden to Andrea, and reaching internally inconsistent

conclusions.

      First, this Court remanded to the Board to make specific findings of fact

regarding “why a skilled artisan would have specifically incorporated Martin’s noise

power estimation algorithm into Hirsch’s spectral subtraction system or threshold

calculation,” as well requiring that the Board address the “specific motivation issues

contested by Andrea.” Appx1976-1977. The Board limited its analysis to the three

examples identified by this Court, without considering the additional evidence and

arguments that Andrea specifically identified to the Board in Andrea’s approved

citation list. Appx1983-1987. The law requires that the Board consider all evidence.

Magnum Oil, 829 F.3d at 1376 (quoting In re Cyclobenzaprine, 676 F.3d 1063, 1077

(Fed. Cir. 2012) (other citations omitted)).      The Board failed to do so here.

Moreover, the Board failed to consider all of the evidence in determining whether

Petitioner had met its burden, instead finding Petitioner satisfied this burden by

analyzing only part of the record, then impermissibly shifting the burden of proof to

Andrea to rebut that showing. This is error.

      Second, in assessing the question of whether Hirsch shows a need for

improvement and Martin provides that improvement, the Board made several errors.

The only basis for its determination that Hirsch shows a need for improvement is a

misrepresentation of the record, namely that Andrea agrees that Hirsch is “silent” on



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its performance in non-stationary noise. Appx0007. Andrea does not agree, but,

even if it did, silence does not show a need for improvement. Relying on silence

invites hindsight bias, particularly where, as here, the reference describes a complete

and working system. Appx0448 (Hirsch reference, describing its system as able to

“enhance noisy speech and to improve the performance of speech recognition

systems.”). Further, the Board’s findings are arbitrary and capricious because they

contradict one another. While the Board found that Martin’s discussion of the

effectiveness of its system demonstrates that it provides an “improvement” over

Hirsch, the Board ignored nearly identical language in Hirsch to find that Hirsch’s

system needed to be improved.

      Third, the Board erred when it concluded that Hirsch does not disparage or

teach away from Martin. Appx0009-0013. The Board first found that Hirsch’s

discussion about “disadvantages” may not be referring to Martin. Appx0009-0010.

No party ever raised this argument. The Board’s reliance on it thus violates the APA

by depriving Andrea of notice and the opportunity to develop rebuttal evidence. It

is further contrary to the record, as both parties acknowledged that Hirsch’s

statement about “relatively long past segments of noisy speech” is referring to

Martin. Appx0401, Appx0840-0841. The Board then rejects the evidence from both

parties as conclusory. This should mean that Petitioner failed to satisfy its burden

of proof. Instead, the Board found that it could substitute its own opinions for the



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evidence of record to determine that a 225 millisecond difference in past segments

of noisy speech would be considered insignificant by a POSITA, citing Belden, 805

F.3d at 1079. Belden does not permit the Board to serve as expert witness to render

expert conclusions entirely outside of the references themselves. Moreover, the

Board’s findings are arbitrary and capricious and not supported by substantial

evidence because the language in the references contradicts them.

      Finally, this Court ordered the Board to make findings of fact regarding

whether Hirsch obviates the need to address the speech pause detection problem, and

therefore that a POSITA would not have looked to Martin. In reaching a conclusion

in Petitioner’s favor on this issue, the Board relied only on irrelevant and conclusory

testimony from Petitioner’s expert. Such testimony is not sufficient. TQ Delta, 942

F.3d at 1358.

      C.     The Board’s Findings On How Hirsch And Martin Would Be
             Combined Are Unsupported By Substantial Evidence

      The Board’s determination that Petitioner showed how a POSITA would have

combined Hirsch and Martin ignores Andrea’s evidence and is unsupported by

Petitioner’s evidence. Andrea presented detailed, specific evidence from its expert

witness showing that a POSITA would not have combined Hirsch with Martin.

Petitioner, on the other hand, presented only conclusory evidence that the proposed

modification “is simply ‘the general approach followed by those working in the field

of noise reduction, where techniques addressing particular challenges or issues (e.g.,


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noise reduction in nonstationary sound environments) are routinely added to or used

to modify an existing noise reduction scheme.’” Appx0016. This is not sufficient.

Polaris Indus., 882 F.3d at 1068 (finding Board succumbed to hindsight bias by

“focus[ing] on what a skilled artisan would have been able to do, rather than what a

skilled artisan would have been motivated to do at the time of the invention.”).

      For all these reasons, the Board erred in finding claims 6-9 unpatentable.

                                  ARGUMENT

                           STANDARD OF REVIEW

      The Board’s factual determinations are reviewed for substantial evidence and

its legal determinations are reviewed de novo. In re Mouttet, 686 F.3d 1322, 1330-

31 (Fed. Cir. 2012).

      Obviousness is a legal question with underlying factual findings and this

Court reviews the Board’s legal conclusions without deference and its factual

findings for substantial evidence. Kennametal, Inc. v. Ingersoll Cutting Tool Co.,

780 F.3d 1376, 1381 (Fed. Cir. 2015). “What the prior art teaches, whether a person

of ordinary skill in the art would have been motivated to combine references, and

whether a reference teaches away from the claimed invention are questions of fact.”

Meiresonne v. Google, Inc., 849 F.3d 1379, 1382 (Fed. Cir. 2017).

      This Court should uphold the Board’s factual findings only if they are

supported by substantial evidence. Mouttet, 686 F.3d at 1330-31. Substantial



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evidence is “such relevant evidence as a reasonable mind might accept as adequate

to support a conclusion.” Consol. Edison Co. v. NLRB, 305 U.S. 197, 229 (1938).

      This Court reviews decisions related to the Board’s compliance with its

procedures for abuse of discretion. Ericsson Inc. v. Intellectual Ventures I LLC, 901

F.3d 1374, 1379 (Fed. Cir. 2018). “‘An abuse of discretion is found if the decision:

(1) is clearly unreasonable, arbitrary, or fanciful; (2) is based on an erroneous

conclusion of law; (3) rests on clearly erroneous fact finding; or (4) involves a record

that contains no evidence on which the Board could rationally base its decision.’”

Id. (citation omitted). The Board’s actions are set aside “if they are ‘arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law’ or

‘unsupported by substantial evidence.’” Vicor Corp. v. SynQor, Inc., 869 F.3d 1309,

1320 (Fed. Cir. 2017) (citing 5 U.S.C. § 706(2)).

V.    THE BOARD’S DETERMINATION THAT A POSITA WOULD HAVE
      BEEN MOTIVATED TO COMBINE HIRSCH AND MARTIN
      SHOULD BE REVERSED

      This Court remanded to the Board to make specific findings of fact on whether

Petitioner met its burden of proving by a preponderance of the evidence that a

POSITA would have been motivated to combine Hirsch with Martin. The Board

made no such findings of fact, instead assuming away the central disputes and

impermissibly relying on hindsight bias by basing its motivation to combine finding

on silence. These legal errors warrant reversal, not just remand. Belden, 805 F.3d



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at 1077. Continuing to give Petitioner more chances to meet a burden that this Court

and the Board previously found were not met is unnecessary and unfair. After three

swings and three misses, the only reasonable conclusion is that the record cannot

support a motivation to combine.

      A.     The Board Erred In Failing To Analyze Martin And Hirsch As A
             Whole

      The Board’s analysis of whether Petitioner met its burden of proof that a

POSITA would have combined Hirsch with Martin begins with a determination that

“there is no dispute that Hirsch specifically identifies the problem of speech pause

detection to estimate noise, and specifically identifies Martin as a solution to that

problem, particularly in non-stationary noise settings.” Appx0005. The Board cites

no record support for this presumption, and Andrea has expressly and repeatedly

contested it. See, e.g., Appx0762-0764. To the extent Andrea understands why the

Board made this presumption, it appears to be based on one sentence from Hirsch

without considering the very next sentence.

      Hirsch states in full relevant part:

             Some approaches are known to avoid the problem of
             speech pause detection and to estimate the noise
             characteristics just from a past segment of noisy speech
             [citing inter alia Martin]. The disadvantage of most
             approaches is the need of relatively long past segments
             of noisy speech.




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Appx0448 (emphasis added). While Hirsch does indeed say that Martin is an

approach “known to avoid the problem of speech pause detection,” it does not state

that Martin is a “solution.” Compare Appx0448 with Appx0005. In fact, Hirsch

indicates that Martin is not a “solution” in two ways: (i) by stating in the very next

sentence that “[t]he disadvantage of most approaches is the need of relatively long

past segments of noisy speech”; and (ii) by providing its own complete algorithm

that does not incorporate any teachings from Martin. Appx0448.

      Reliance on an individual sentence from Hirsch without consideration of its

surrounding discussion is a legal error that fails to comply with Graham v. John

Deere Co., 383 U.S. 1, 17-18 (1966).           In Bausch & Lomb, Inc. v. Barnes-

Hind/Hydrocurve, Inc., for example, this Court found that the district court erred in

applying improper hindsight bias by selecting a “single line” out of the prior art

reference. 796 F.2d 443, 448 (Fed. Cir. 1986). This Court explained that “‘[i]t is

impermissible within the framework of section 103 to pick and choose from any one

reference only so much of it as will support a given position to the exclusion of other

parts necessary to the full appreciation of what such reference fairly suggests to one

skilled in the art.’” Id. (quoting In re Wesslau, 353 F.2d 238, 241 (CCPA 1965) &

citing In re Mercer, 515 F.2d 1161, 1165-66 (CCPA 1975)). This Court continued

that it is specifically improper to do what the Board did here, namely, ignore “the

immediately following sentences in the same paragraph,” particularly where, as



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here, it is clear that the reference is “setting up a strawman and pointing out its

disadvantages to highlight the advantages of [the patented] invention.” Id.

      The requirement that references be considered as a whole is long-standing.

Warsaw Orthopedic, 832 F.3d at 1332 (quoting Panduit Corp. v. Dennison Mfg. Co.,

810 F.2d 1561, 1568 (Fed. Cir. 1987)); see also Polaris Indus., 882 F.3d at 1069

(“Moreover, a reference ‘must [be] considered for all it taught, disclosures that

diverged and taught away from the invention at hand as well as disclosures that

pointed towards and taught the invention at hand.’”) (quoting Ashland Oil, Inc. v.

Delta Resins & Refractories, Inc., 776 F.2d 281, 296 (Fed. Cir. 1985)). The Board

failed to follow this law, instead relying only on the Hirsch sentence that suited

Petitioner’s argument – that Hirsch identifies Martin as a known “approach” – and

then rewriting it to find that Hirsch identifies Martin as a “known solution,” while

ignoring Hirsch’s express criticisms. Appx0005-0006. The Board’s one-and-one-

half-page analysis of whether Petitioner satisfied its burden never even mentions the

surrounding language in Hirsch, much less finds that Petitioner satisfied its burden

in view of the references as a whole. Appx0005-0006.

      The Board does address Hirsch’s statement about the “disadvantage of most

approaches” later in its Third IPR Decision, but only in determining whether Andrea

rebutted the Board’s conclusion that Petitioner had proven motivation to combine.

This is improper. “In an inter partes review, the burden of persuasion is on the



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petitioner to prove ‘unpatentability by a preponderance of the evidence,’ 35 U.S.C.

§ 316(e), and that burden never shifts to the patentee.” Dynamic Drinkware, LLC v.

Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015) (quoting Tech. Licensing

Corp. v. Videotek, Inc., 545 F.3d 1316, 1326-27 (Fed. Cir. 2008)). The Board may

not shift the burden of production to Andrea to rebut a showing of nonobviousness,

including motivation to combine. Magnum Oil, 829 F.3d at 1376; 35 U.S.C.

§ 316(e). But that is precisely what the Board did here. It considered only the part

of Hirsch that supported Petitioner’s position, rewrote it, and then shifted the burden

to Andrea to show why the reference as a whole does not support that finding.

Appx0005-0007.

      Reversal is appropriate because Board’s analysis does not meet this Court’s

charge to make findings of fact showing “why a skilled artisan would have

specifically incorporated Martin’s noise power estimation into Hirsch’s spectral

subtraction system” other than through the application of impermissible hindsight

and burden shifting. Appx1976-1977.

      B.     The Board Erred In Finding Hirsch’s Alleged Silence Regarding
             Non-Stationary Noise Is Sufficient To Establish Motivation To
             Combine

      The Board’s finding that Petitioner met its burden is further in error because

it relies on Hirsch’s silence to establish the existence of a motivation to combine,

without explanation or support. Appx0005.



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              1.     The Board Makes No Findings of Fact on Hirsch’s Silence,
                     Having Assumed No Dispute

        After incorrectly concluding that Hirsch identified Martin as a “solution,” the

Board determined that Petitioner met its burden in showing motivation to combine

because Hirsch is silent on its system’s effectiveness in non-stationary noise settings,

while Martin provides “good results in non-stationary noise environments.”

Appx0006. Rather than making findings of fact to show that Hirsch is silent on non-

stationary noise, the Board presumed that all parties concur in that proposition. See

also Appx0005 (“there is no dispute that Hirsch is silent as to the effectiveness of its

technique in non-stationary noise environments.”). Andrea, however, did dispute

this.

        What Andrea argued below is that Petitioner failed to prove that Hirsch is not

already effective in non-stationary noise environments. Appx0765-0766. Andrea

explained: “[Petitioner] notes that Hirsch appears to have only tested its techniques

in stationary noise settings, but there is no evidence suggesting that Hirsch’s

techniques would not work well, or would need to be improved, in non-stationary

noise environments.”        Appx0765-0766.     In other words, Andrea argued that

Petitioner had not shown anything in Hirsch that indicates it does not already work

in non-stationary noise environments. Andrea never conceded that Hirsch is silent

on its effectiveness in non-stationary noise environments.




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      Andrea supported this position with evidence from the record. In describing

the problem it seeks to address, Hirsch notes that estimating noise “is a difficult task

especially if the background noise is not stationary or the signal-to-noise ratio (SNR)

is low.” Appx0448. Hirsch then proposes a simple recursive noise estimation

algorithm, which addresses the problem in the context of not requiring an explicit

pause in speech to detect the noise. Appx0448. While Hirsch did not state whether

it tested its algorithm in non-stationary noise settings, nothing in the background

discussion suggests that Hirsch’s algorithm does not work in these environments.

Appx0844-0845. Instead, Hirsch presents a complete algorithm (without Martin’s

approach), and notes that its algorithm can “quickly adapt to slowly varying noise

levels or slowly changing noise spectra.” Appx0451, Appx0448, Appx0839.

      Andrea identified this evidence in its approved citation list on remand. The

Board should have—but failed to—address it and failed to make any findings of fact

that Hirsch is actually silent on non-stationary noise, other than presuming

incorrectly that Andrea agrees. Appx1983-1987. These are reversible legal errors.

Magnum Oil, 829 F.3d at 1376.

             2.     Hirsch’s Alleged Silence on Non-Stationary Noise Cannot
                    Establish a Motivation to Combine

      Even if Andrea had agreed that Hirsch is silent on non-stationary noise, that

does not answer the question of “why a skilled artisan would have specifically

incorporated Martin’s noise power estimation algorithm into Hirsch’s spectral


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subtraction system or threshold calculation.” Appx1976-1977. The Board cites to

no case law that stands for the proposition that silence is sufficient to explain why a

POSITA would select individual components of Martin to insert into Hirsch.

      Instead, reliance on silence improperly rests upon the exact hindsight analysis

that the motivation to combine requirement is intended to prevent. As this Court

explained in TQ Delta, “[i]dentifying a motivation to combine the prior art is

important because ‘inventions in most, if not all, instances rely on building blocks

long since uncovered, and claimed discoveries almost of necessity will be

combinations of what, in some sense, is already known.’” 942 F.3d at 1357 (quoting

KSR, 550 U.S. at 418-19). Relying on silence as the Board did here, invites the “ex

post reasoning KSR warned of and fails to identify any actual reason why a skilled

artisan would have combined the elements in the manner claimed.” In re Van Os,

844 F.3d 1359, 1361-62 (Fed. Cir. 2017) (citing KSR, 550 U.S. at 418). Likewise, a

determination that silence in one reference is sufficient to find the existence of a

motivation to combine conflicts with this Court’s holding that the “mere possibility”

that references can be combined is not enough. PersonalWeb, 917 F.3d 1382.

      At the very least, the Board needed to explain what about Hirsch’s purported

silence would have created a motivation to incorporate specific teachings of Martin,

because it cannot be the case that silence in one reference on what is discussed in

another is always sufficient to prove motivation to combine. The Board makes no



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such findings. An endorsement of the Board’s analysis would thus greatly expand

the scope of what constitutes evidence for a motivation to combine.

             3.    The Board’s Decision Is Arbitrary and Capricious

      As discussed above, the Board’s findings rest on a misconstruction of the

record, namely that Andrea agrees that Hirsch identifies Martin as a “solution” and

that Andrea agrees that Hirsch is silent on non-stationary noise. The Board failed

to cite anything for the first proposition and misrepresented Andrea’s position on

the second. Appx0005. The Board cited to no evidence other than nonexistent

consensus. Accordingly, the Board’s decision is not supported by substantial

evidence and is arbitrary and capricious.

      The Board’s determination is further arbitrary and capricious because the

Board treated the express teachings of Hirsch and Martin inconsistently without

providing an explanation. In determining that a POSITA would understand that

Martin provides an improvement in non-stationary noise, the Board explains that

Martin discloses a “good result[].” Appx0005. In support, the Board cites to

Martin’s statements that its algorithm is “computational[ly] inexpensive” and

“effective.” Appx0005-0006, Appx0008 (citing Appx0454-0455). The Board

misunderstands Martin’s teachings. The sentence quoted actually explains that

Martin provides a “computational[ly] inexpensive and effective mean [sic] to cope




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with” “[v]arying noise levels,” not non-stationary noise. Appx0455. Varying

noise levels and non-stationary noise are not the same.

      Further, the Board ignores nearly identical statements in Hirsch about its

effectiveness to reach the conclusion that Hirsch’s system needs to be improved.

Appx0005, Appx0007. Hirsch states that its algorithm provides a “good result[]”

by stating it “can be shown to enhance noisy speech and to improve the

performance of speech recognition systems.” Appx0448. Hirsch states further that

its recursive algorithm “has a low computational complexity” and provides “a good

supplement to [Hidden Markov Model] recognition schemes.” Appx0451.

Further, Hirsch, like Martin, notes that its algorithm is at least “able to quickly

adapt to slowly varying noise levels or slowly changing noise spectra.” Appx0448.

Nothing in Hirsch limits these statements to stationary noise.

      If the Board interpreted this nearly identical wording consistently, it would

have supported Andrea’s argument that a POSITA would not understand Hirsch to

need improvement and the Board did not explain its disparate treatment. Appx0007

(citing Appx0765-0766). When there is a direct conflict in the Board’s fact finding,

the Board must provide a reasoned basis for the findings, otherwise its decision is

arbitrary and capricious. See Vicor Corp., 869 F.3d at 1323 (finding decision

“arbitrary” and “capricious” where Board’s factual findings for two reexamination

proceedings on essentially the same record reached contradictory conclusions



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without explanation). Arbitrary and capricious action warrants reversal. See id.; see

also 5 U.S.C. § 706(2)(A); Honeywell Int’l Inc. v. Mexichem Amanco Holding S.A.

DE C.V., 865 F.3d 1348, 1354 (Fed. Cir. 2017) (vacating motivation to combine

findings where Board’s analysis was “internally inconsistent”).

VI.   THE BOARD IMPERMISSIBLY SHIFTED THE BURDEN TO
      ANDREA, DOES NOT ADDRESS THE ISSUES REQUIRED BY THIS
      COURT’S REMAND, AND ITS FINDINGS ARE NOT SUPPORTED
      BY SUBSTANTIAL EVIDENCE

      As discussed above, the Board’s page-and-a-half analysis on whether

Petitioner met its burden is conclusory, inconsistent with the record, and arbitrary

and capricious. The Board has now had three chances to find and explain why a

POSITA would have been motivated to combine Hirsch and Martin, an issue on

which Andrea does not bear the burden of proof. The Board and Petitioner have not

found that evidence. Reversal is therefore appropriate and this Court should find

that claims 6-9 are not unpatentable, without having to reach the issue of Andrea’s

rebuttals to the arguments raised by Petitioner. See DSS Tech. Mgmt. v. Apple Inc.,

885 F.3d 1367, 1377 (Fed. Cir. 2018) (reversing finding of unpatentability where

“this [was] not a case where a more reasoned explanation than that provided by the

Board can be gleaned from the record”); Arendi S.A.R.L. v. Apple Inc., 832 F.3d

1355, 1366 (Fed. Cir. 2016) (same).

      But, even if this Court finds that the Board’s reasoning that a POSITA would

have been motivated to combine Hirsch with Martin is sufficient (Appx0005-0006),


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reversal and/or remand is still appropriate because the Board made numerous clear

errors in rejecting Andrea’s arguments. Appx0007-0014.

      A.     The Board Failed To Analyze All Evidence Of Record

      This Court remanded to the Board to address “the specific motivation issues

contested by Andrea.” Appx1977. The Court then gave three “examples” of issues

contested by Andrea. Appx1977. The Third IPR Decision addresses only those

three issues, while ignoring the rest of Andrea’s evidence and arguments. This is a

legal error because, “‘a fact finder must consider all evidence … before reaching a

determination.’” Magnum Oil, 829 F.3d at 1376 (quoting In re Cyclobenzaprine,

676 F.3d at 1077.

      Andrea identified additional evidence and arguments in its approved citation

list (and would have discussed that evidence if the Board had allowed briefing,

which it refused to do). Specifically, Andrea identified paragraphs 81-92 of the

expert declaration of Dr. Douglas, which lays out in detail additional problems with

Petitioner’s analysis of motivation to combine. Appx1985, Appx0839-0847.

      While acknowledging that Hirsch and Martin both disclose algorithms for

estimating signal quantities, Dr. Douglas explained that their algorithms have

“different desired goals.” Appx0839. Specifically, Martin’s algorithm is directed

to “a method of estimating the signal-to-noise ratio of a noisy speech signal,” while

Hirsch “does not use signal-to-noise ratio as a parameter for any of its processing.”



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Appx0839. In view of this distinction, Dr. Douglas explained that a POSITA “would

not be motivated to modify the low complexity approach of Hirsch and introduce

the more complex SNR estimation techniques of Martin into Hirsch.” Appx0839.

      The Board likewise failed to address Dr. Douglas’s explanation of how

Petitioner’s proposed combination would completely remove the need for Hirsch’s

recursive noise estimation algorithm.      Appx0845-0847.    As explained by Dr.

Douglas, Hirsch and Martin provide independent algorithms with their own distinct

approaches to detecting noise. One of Hirsch’s proposed solutions to detecting noise

is through its recursive noise estimation algorithm.     Appx0448.     Dr. Douglas

explained how incorporating Martin’s algorithm into Hirsch would completely

remove the need for Hirsch’s recursive noise estimation algorithm, and how such a

proposed substitution would have “significant impacts” on “Hirsch’s overall

system” due to the wholesale elimination of Hirsch’s recursive algorithm.

Appx0845-0847.

      Finally, Dr. Douglas explained why Hirsch and Martin’s discussion of

spectral subtraction does not provide a reason for a POSITA to combine Hirsch and

Martin. Appx0840. In particular, Dr. Douglas explained how Hirsch and Martin

provided independent solutions, and that a POSITA would not have been motivated

to delete portions of Hirsch and replace them with Martin. Appx0840. The Board

does not address any of this.     These points highlight the hindsight nature of



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Petitioner’s proposed combination, which would completely eliminate the recursive

noise estimation algorithm proposed by Hirsch. See TriVascular, Inc. v. Samuels,

812 F.3d 1056, 1068 (Fed. Cir. 2016) (affirming Board’s findings regarding lack of

motivation to combine where the substitution proposed by the petitioner “would

destroy the basic objective” of the prior art).

      To the extent that the Board was confused as to the arguments that Andrea

considers to be relevant, the Board caused that problem by denying Andrea’s request

for additional briefing and permitting only the approved citation list. Appx1981.

The above portions of Dr. Douglas’s report are included in that list and thus should

have been considered. The Third IPR Decision should be reversed at least because

there is additional evidence of record that the Board did not weigh or consider. See

Magnum Oil, 829 F.3d at 1376.

      B.     The Board Erred In Finding That Hirsch Shows A Need For
             Improvement In Non-Stationary Noise Environments And
             Whether Martin Provides Such Improvement (Third IPR Decision
             § C.1)

             1.     The Board’s Finding That Hirsch Needs Improvement
                    Misstates the Record, Ignores Evidence Presented by
                    Andrea, and is Internally Inconsistent

      This Court remanded to the Board for a determination of “whether[] Hirsch

shows a need for improvement in nonstationary noise environments.” Appx1977.

The Board’s analysis of this question is limited to one paragraph that relies on

Hirsch’s purported silence on non-stationary noise to reject what it terms Andrea’s


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“[r]ebuttal” argument that Hirsch does not show a need for improvement in non-

stationary noise environments. Appx0007. The Board’s analysis here suffers from

the same errors discussed above. See § IV.B. The Board incorrectly assumes that

there is agreement that Hirsch is silent on non-stationary noise, then relies on that

alleged silence to find the existence of a motivation to combine. Appx0007. The

Board’s reliance on purported “silence” is impermissible hindsight and, further, is

not supported by substantial evidence because it cites only a nonexistent consensus

to show that Hirsch is “silent” on non-stationary noise.

      Further, as with its analysis of whether Petitioner met its burden, the Board’s

rejection of Andrea’s “[r]ebuttal” argument that Hirsch does not need to be improved

is also internally inconsistent. To find that Martin discloses an improvement or

“good result[],” the Board relies in several places in the Third IPR Decision on

Martin’s statements that its algorithm is “computational[ly] inexpensive” and

“effective.” Appx0005-0006, Appx0008 (citing Appx0454-0455). Yet, the Board

ignores similar statements in Hirsch to reach the conclusion that Hirsch needed

improvement. Appx0005, Appx0007; see § V.B.3. Just like Martin, Hirsch states

that its algorithm provides a “good result[]” by stating it “can be shown to enhance

noisy speech and to improve the performance of speech recognition systems” and

“has a low computational complexity.” Appx0448. If Martin’s statements are

sufficient to show that a POSITA would have understood that Martin provided “good



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results,” then Hirsch’s statements should be interpreted the same way, undermining

the Board’s determination that Hirsch needs improvement.          Appx0007 (citing

Appx0765-0766).

      The Board did not explain why it relied on Martin’s “effective” teachings, but

not Hirsch’s. The Board’s finding that Hirsch needs improvement is therefore

arbitrary and capricious and should be reversed. See, e.g., Robert Bosch, LLC v.

Iancu, 778 Fed. App’x 871, 874-75 (Fed. Cir. 2019) (nonprecedential) (finding same

panel reaching opposite conclusions on identical issue demonstrates arbitrary and

capricious nature of decision).

             2.    The Board’s Determination that Martin Provides the
                   Improvement Is Not Supported by Substantial Evidence

      Having determined that Hirsch’s silence answers this Court’s first question of

“whether[] Hirsch shows a need for improvement in nonstationary noise

environments,” the Board went on to address this Court’s second question of

“whether Martin provides such improvement.” Appx1977, Appx0009-0013. The

Board answers that second question in the affirmative, but misunderstands and

misconstrues the record in doing so. Accordingly, this finding is not supported by

substantial evidence. OSI Pharms., LLC v. Apotex Inc., 939 F.3d 1375, 1381–82

(Fed. Cir. 2019) (“The substantial evidence standard asks ‘whether a reasonable fact

finder could have arrived at the agency’s decision,’ and ‘involves examination of the




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record as a whole, taking into account evidence that both justifies and detracts from

an agency’s decision.’”) (quoting Gartside, 203 F.3d at 1312)).

      The Board presumes that incorporating Martin’s noise estimation algorithm

into Hirsch will improve the performance of Hirsch because Martin had tested its

system in non-stationary noise settings. Appx0007. However, that presumption is

not supported by the record. To reach it, the Board misconstrues the teachings of

Martin. Appx0008-0009. The Board recognizes that Andrea’s expert, Dr. Douglas,

explained that “Martin states on page 1095 that his ‘estimate is biased when no

speech is present’ and states on page 1096 that his ‘algorithm is accurate for medium

to high SNR conditions, but necessarily biased when no speech is present.’”

Appx0008-0009 (quoting Appx0843-0844).           The Board rejects this evidence,

however, on an incorrect understanding that the “bias is described as ‘slightly

biased’ in the preceding paragraph” of Martin. Appx0009. No party previously

raised this argument, meaning that Andrea had no opportunity to rebut or address it

in violation of the APA. 5 U.S.C. § 554(b)(3).

      Further review demonstrates the Board misread Martin. Martin’s “slightly

bias” statement is not referring to the performance of Martin’s algorithm estimating

signal-to-noise ratio “when no speech is present” as used in the paragraph cited by

Dr. Douglas. Appx0843-0844. It is instead referring to a “noise power estimate,”

which is used in Martin’s algorithm for signal-to-noise ratio estimation. Compare



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Appx0455 (“Our informal listening test reveal [sic] relatively few annoying musical

tones. However, due to the fact that we subtract slightly biased noise power

estimates (ofactor = 1.5) the noise suppression is limited.”) (emphasis added) with

Appx0843-0844 (The “algorithm is accurate for medium to high SNR conditions but

necessarily biased when no speech is present.”) (emphasis added) (quoting

Appx0454-0455). The Board incorrectly assumes these two uses of “bias” both refer

to performance when speech is not present, but Martin expressly contradicts that

assumption.1

      The Board’s adoption of testimony from Petitioner’s expert does not save its

analysis. Appx0008 (citing Appx0401). Petitioner’s own expert, Dr. Hochwald,

only states that incorporating Martin’s noise estimation algorithm “could improve

the performance of Hirsch’s system in certain real-world scenarios, such as where

non-stationary noise is present.”   Appx0402.     But “mere speculation” is not

substantial evidence. See Intellectual Ventures I LLC v. Motorola Mobility LLC,

870 F.3d 1320, 1331 (Fed. Cir. 2017); see also PersonalWeb, 917 F.3d at 1382.




1
  The Board cites to Patent Owner’s Response at page 39 for the proposition that
Andrea acknowledged that Martin concluded that the bias “when no speech is
present” is described as “slightly biased.” Appx0009 (citing Appx0767). This is
incorrect. Andrea and its expert properly treated Martin’s discussion of bias “when
speech is not present” (Appx0766), and its discussion of “slightly biased” noise
power estimates (Appx0767), as separate problems with Martin’s algorithm.

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Indeed, Dr. Hochwald’s opinion confirms that Martin’s noise estimation algorithm

may not provide any improvement to Hirsch’s algorithm at all.

      The Board further credited Dr. Hochwald’s testimony that “‘Martin explains

that the noise floor algorithm is particularly suited to identifying noise in a frequency

bin during active speech [Martin, pg. 1094],’ and ‘Martin’s algorithm has some

advantages in that it had been tested to work well with non-stationary noise.’”

Appx0008 (citing Appx0401).         This testimony does not support the Board’s

conclusion that Martin provides “‘good results in cases of non-stationary noise

environments.’”    Appx0008 (citing Appx0765).          The first statement from Dr.

Hochwald does not concern Martin’s purported efficacy for non-stationary noise

environments. The second statement is merely conclusory and conflicts with the

Board’s findings that Hirsch, which includes almost the same language, needs to be

improved. TQ Delta, 942 F.3d at 1358.

      C.     The Board Erred In Its Determination That Hirsch Does Not
             Disparage Martin When It Found The Differences In Length Of
             Past Segments Of Noisy Speech Insignificant (Third IPR Decision
             at § C.2)

      This Court asked the Board to make findings of fact regarding whether

“Hirsch disparages Martin because of ‘the need of relatively long past segments of

noise speech’ and the ‘significant difference’ in time requirements between Martin

and Hirsch.” Appx1977. The law is clear that the burden of proof stays on Petitioner

and that there is no shifting of the burden of persuasion to establish a lack of


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motivation to combine. Magnum Oil, 829 F.3d at 1375-76 (burden of proof and

persuasion remains on patent challenger). The Board’s decision does not follow this

law. It instead raises its own new theories and, after rejecting the evidence from all

experts, substitutes its own judgment. Appx0009-0010. Its conclusions, moreover,

are arbitrary and capricious because they conflict with the express teachings in

Hirsch and Martin. Reversal is therefore appropriate.

             1.    The Board’s Determination that Hirsch May Not be
                   Referring to Martin in Its Discussion of “Relatively Long
                   Past Segments of Noisy Speech” Has No Support and
                   Violates the APA

      As discussed above, the Board found that Petitioner had established a

motivation to combine without considering the full context of Hirsch’s discussion,

including Hirsch’s criticism of approaches like Martin. Hirsch’s discussion of

Martin in full states: “Some approaches are known to avoid the problem of speech

pause detection and to estimate the noise characteristics just from a past segment of

noisy speech. [citing Martin, Hirsch, and Campernolle]. The disadvantage of most

approaches is the need of relatively long past segments of noisy speech.” Appx0448

(emphasis added). The Board’s reliance on just the first sentence to reach its

conclusion is reversible legal error. Bausch & Lomb, 796 F.2d at 448-49. This is

true even if this Court finds that Hirsch’s discussion does not expressly rise to the

level of teaching away. See Apple Inc. v. Samsung Elecs. Co., 839 F.3d 1034, 1051

n.15 (Fed. Cir. 2016) (en banc). The Board’s discussion of the crucial second


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sentence above in its rejection of what it calls Andrea’s “Rebuttal” is not sufficient

because it shifts the burden of proof to Andrea to show that a POSITA, reading

Hirsch as a whole, would not have combined the references. Magnum Oil, 829 F.3d

at 1378-79 (“Where, as here, it is clear that the Board did not require the petitioner

to support its claim of obviousness by a preponderance of the evidence, [this Court]

must reverse.”).

      Regardless, even if the Board’s split approach were proper, its decision

violates the APA. The Board rejected Andrea’s argument, finding that Hirsch’s

discussion of a “disadvantage” may not be referring to Martin at all because Hirsch

says only that the “disadvantage” applies to “most approaches,” without referencing

Martin specifically. Appx0009. No party raised this argument below. In fact, both

parties agreed that Hirsch is, in fact, discussing the disadvantages of Martin.

According to Petitioner’s expert, Dr. Hochwald: “Hirsch then explains that some of

the existing techniques, such as Martin, require ‘relatively long past segments of

noisy speech’ [Hirsch, pg. 153].”        Appx0401 (emphasis added), Appx1001

(Hochwald acknowledging that he inferred that Hirsch’s discussion of disadvantage

of most approaches was referring to Martin).        Andrea’s expert, Dr. Douglas,

similarly confirmed that Hirsch’s discussion is also referring to Martin: “But Hirsch

immediately disparages techniques like Martin’s, explaining that ‘[t]he disadvantage




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of most approaches is the need of relatively long past segments of noisy speech.’”

Appx0840-0841.

      To comply with the APA, in an IPR proceeding the Board must “timely

inform[ ]” the parties of “the matters of fact and law asserted,” 5 U.S.C. § 554(b)(3);

it must give the parties an opportunity to submit facts and arguments for

consideration, id. § 554(c); and it must permit each party to present oral and

documentary evidence in support of its case or defense, as well as rebuttal evidence,

id. § 556(d). See Hamilton Beach Brands, Inc. v. F’Real Foods, LLC, 908 F.3d

1328, 1338 (Fed. Cir. 2018); Rovalma, S.A. v. Bohler-Edelstahl GmbH & Co. KG,

856 F.3d 1019, 1029 (Fed. Cir. 2017); Belden Inc., 805 F.3d at 1064, 1080.

“Pursuant to these provisions, the Board may not change theories midstream without

giving the parties reasonable notice of its change.” Hamilton Beach, 908 F.3d at

1338 (citing Belden, 805 F.3d at 1080 (interpreting § 554(b)(3) in the context of IPR

proceedings)).

      Petitioner never made the assertion, as the Board does, that Martin falls

outside the category of “most approaches” discussed in Hirsch.                 Compare

Appx1247-1248 with Appx0009-0010.              Indeed, Petitioner could not take that

position because its own expert, Dr. Hochwald, admitted that Hirsch’s discussion

about the disadvantages of most approaches does refer to Martin. Appx0401,

Appx1001. Accordingly, the Board’s unsupported finding not only relied upon an



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argument advanced by neither party (thereby depriving Andrea of any opportunity

to raise rebuttal evidence), but also contradicts the evidence presented by the parties.

      Further, the Board does not cite to any portion of the record that supports its

reading of Hirsch, nor does it make any findings of fact showing that its

interpretation is consistent with that of a POSITA, notwithstanding the positions

taken by both experts. Appx0009-0013. Just because the Board thinks that Hirsch

may not be referring to Martin (despite the citation) and that Hirsch could be merely

describing alternatives, does not mean that Petitioner has met its burden to show how

a POSITA would have viewed the references that way. Intellectual Ventures, 870

F.3d at 1331. This is a reversible legal error because “[w]hether prior art invalidates

a patent claim as obvious is determined from the perspective of one of ordinary skill

in the art.” Star Scientific, Inc. v. R.J. Reynolds Tobacco Co., 655 F.3d 1364, 1374

(Fed. Cir. 2011) (citing KSR Int’l Co. v. Teleflex, Inc., 550 U.S. 398, 420 (2007)).

      Further, the Board’s interpretation is “mere speculation” that is at odds with

the references themselves.       Intellectual Ventures, 870 F.3d at 1331.          The

straightforward reading of Hirsch is that Martin is part of the “most approaches” that

have disadvantages. Appx0448, Appx0401, Appx1001. In the relevant passage,

Hirsch identifies the approaches in three references, one of which is Martin. Of

those three references, Martin is the only one that clearly identifies a specific time

window for past segments of noisy speech. Appx0448 (citing Appx0452-0455,



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Appx1445-1476, Appx1477-1502). Moreover, the window identified in Martin is a

full 1.5 times longer than the window that Hirsch finds acceptable, which is

consistent with Hirsch’s express statement about segments that are too long.

Appx0448, Appx0840-0843. The Board’s finding that Hirsch may not be discussing

the length of Martin’s past segments of noisy speech is pure conjecture, contradicted

by the parties and the references themselves.

             2.    The Board Improperly Shifted the Burden of Proof to
                   Andrea in Assessing Whether the Time Difference in Past
                   Segments Between Hirsch and Martin is Significant

      The next issue that this Court remanded for the Board to address is whether

the time difference between Hirsch’s and Martin’s algorithms is a “significant

difference”. Appx1977. The Board acknowledges that the parties dispute whether

the window 1.5 times longer required by Martin (625 milliseconds) compared to

Hirsch’s time window (400 milliseconds) is significant. Appx0010. The Board

rejected the expert opinions from both parties’ experts on this issue. Appx0011.

The Board finds, however, that it can “discern from the references themselves that

Hirsch does not teach away.” Appx011 (quoting Belden Inc., 805 F.3d at 1079

(“Board members, because of expertise, may more often find it easier to understand

and soundly explain the teachings and suggestions of prior art without expert

assistance.”)).




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      Belden is not so broad. Nothing in it permits the Board to create new

arguments in its Final Written Decisions. 5 U.S.C. § 554(b)(3), (c), (d). Rather, the

portion of Belden that the Board cites states that “[n]o rule requires a Petition to be

accompanied by any declaration.” Belden, 805 F.3d at 1079 (emphasis added). This

is because the burden of proof at institution is merely a “reasonable likelihood of

success.” 35 U.S.C. § 314(a). The burden of proof on the ultimate conclusion of

the IPR, by contrast, is a preponderance of the evidence and that burden is on

Petitioner. 35 U.S.C. § 316(e). The Board makes no factual findings on why 225

milliseconds is insignificant and cites to no authority that allows the Board to

substitute its unexplained judgment for the evidence that Petitioner has presented.

“‘[T]he Board cannot simply reach conclusions based on its own understanding or

experience—or on its assessment of what would be basic knowledge or common

sense,’ but instead ‘must point to some concrete evidence in the record in support of

these findings.’” PPC Broadband, Inc. v. Iancu, 739 Fed. App’x 615, 621, 623-24

(Fed. Cir. 2018) (nonprecedential) (vacating and remanding where the Board “failed

to offer a reasoned explanation” for its determination of unpatentability).

      Moreover, Belden’s holding is expressly dependent: “What the Board can find

without an expert depends on the prior art involved in a particular case.” Belden,

805 F.3d at 1079.     Expert testimony may only be dispensed with “when the

references and the invention are easily understandable.” Id. The Board makes no



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findings that the prior art in this case satisfies Belden’s requirements. See generally

Appx0010-0011. And it does not. The Board is making an interpretation that

expressly contradicts the clearest reading of Hirsch, which specifically says that

certain past windows of noisy speech – i.e., Martin’s window – are too long.

Appx0448.

      But, even if this Court disagrees with that reading, the Board recognizes in the

next paragraph that “the record lacks evidence of how or if 225 milliseconds would

impact Hirsch’s system’s performance in non-stationary noise settings (i.e., there is

no experimental determination in Hirsch as to what would be effective in non-

stationary settings and as Martin explained, these values are determined

experimentally).” Appx0011. The Board further recognized, “[b]ased on the

evidence before us, we have no way to compare Hirsch and Martin with respect to

effectiveness in non-stationary noise settings.” Appx0012. Accordingly, the Board

is not merely explaining “easily understandable” discussion from the references, it

is acting as an expert to create new evidence to support Petitioner’s position, without

the appropriate qualifications, and without giving Andrea the chance to respond. 5

U.S.C. § 554(c); 5 U.S.C. § 556(d); Hamilton Beach, 908 F.3d at 1338; Rovalma,

856 F.3d at 1029. This is a reversible legal error.




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      D.     The Board’s Rejection Of Andrea’s Argument That Hirsch
             Obviates The Need To Address Speech Pause Detection Is
             Arbitrary And Capricious (Third IPR Decision at § C.3)

      This Court further ordered the Board to make factual findings on whether

“Hirsch obviates the need to address the speech pause detection problem and,

therefore, a skilled artisan would not have looked to Martin to address the problem.”

Appx1977. The Board states that it does not “agree [with Andrea] that Hirsch

obviates the need to look to Martin’s algorithm.” Appx0013. However, the portions

of the record that the Board cites in reaching this finding have nothing to do with the

question presented. After again relying on its assumption that Hirsch is silent on

non-stationary background noise without citing any evidence, the Board relies on

testimony from Petitioner’s expert, Dr. Hochwald. Appx0013-0014. The Board

characterizes Dr. Hochwald’s testimony as follow: “[t]he practices followed by the

Hirsch authors is consistent [with] the general approach followed by those working

in the field of noise reduction, where techniques addressing particular challenges or

issues (e.g., noise reduction in nonstationary sound environments) are routinely

added to or used to modify an existing noise reduction scheme.” Appx0013 (citing

Appx0108, Appx0399-0400). That is plainly not evidence or opinion about whether

Hirsch obviates the need to address speech pause detection. Appx1977. It is just a

conclusory opinion that a POSITA generally looks to optimize. It says nothing about

whether a POSITA would have optimized in the precise manner of the claims nor



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whether a POSITA would have looked to Martin, despite Hirsch’s express

statements about long past windows of noisy speech. This Court has already once

reversed the Board’s decision because it found that the Board made no specific

findings of fact on what “design incentives and other market forces” would have

motivated a POSITA to combine. Appx1977. The Board’s Third IPR Decision still

fails to identify any specifics and thus fares no better.

      The law is clear that conclusory testimony, like that relied on by the Board, is

not sufficient. ActiveVideo Networks, Inc. v. Verizon Commc’ns, Inc., 694 F.3d

1312, 1327 (Fed. Cir. 2012) (“Rather, the expert’s testimony on obviousness was

essentially a conclusory statement that a person of ordinary skill in the art would

have known, based on the ‘modular’ nature of the claimed components, how to

combine any of a number of references to achieve the claimed inventions. This is

not sufficient and is fraught with hindsight bias.”). See also e.g., ActiveVideo

Networks, 694 F.3d at 1328 (“This testimony is generic and bears no relation to any

specific combination of prior art elements.”); In re Stepan Co., 868 F.3d 1342, 1346

(Fed. Cir. 2017) (“Absent some additional reasoning, the Board’s finding that a

skilled artisan would have arrived at the claimed invention through routine

optimization is insufficient to support a conclusion of obviousness.”).

      In addition to being conclusory, the Board’s decision is arbitrary and

capricious because it ignores contradictory portions of the record. The Board



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presumes that “Martin provides an effective approach for non-stationary noise

settings, and similarly avoids the need for speech pause detection” and therefore

agrees that “one skilled in the art would have combined Martin’s teachings with

those of Hirsch, at least for non-stationary noise settings.” Appx0014. The Board

cites to nothing to support its determination, presumably relying on its analysis in

other sections. Those other sections contain the errors described above and thus

provide no support for the Board’s determination that Hirsch still needs speech pause

detection.

       Reversal and/or remand is appropriate because the Board failed to make

factual findings that overcome the express teachings in Hirsch that it obviated the

need for speech pause detection.

VII.   HOW THE TEACHINGS OF HIRSCH AND MARTIN ARE
       COMBINED WAS PART OF THE REMAND

       The Board erred by suggesting that the manner in which the teachings of

Hirsch and Martin are combined is outside the scope of this remand. Appx0015.

The very nature of the proposed modification and combination of Hirsch and Martin

goes directly to the issue of whether a POSITA would have been motivated to make

the proposed modification and combination in the first place. See Plas-Pak Indus.,

Inc. v. Sulzer Mixpac AG, 600 Fed. App’x 755, 758 (Fed. Cir. 2015) (“combinations

that change the ‘basic principles under which the [prior art] was designed to




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operate’…may fail to support a conclusion of obviousness.” (citations omitted)).

Given this, the particular nature of the combination must be part of the remand.

      The Board’s explanation of how Martin’s noise estimation algorithm would

be incorporated into Hirsch’s spectral subtraction system or threshold calculation

confirms the Board’s improper hindsight analysis. In particular, the Board ignores

Andrea’s detailed and specific explanation in its Patent Owner Response on how

incorporating Martin’s noise estimation algorithm would improperly remove

Hirsch’s recursive noise estimation algorithm – the heart of one of the noise

estimation techniques proposed by Hirsch. Appx0768-0771, Appx0448. Instead of

addressing Andrea’s arguments, the Board summarily dismisses them because

Andrea “does not allege any specific fault in the Petition.” Appx0015 (citing

Appx0768-0771). That finding shifts the burden of proof to Andrea and is contrary

to the record. Appx0768-0771.

      In its Patent Owner Response, Andrea presented arguments and cited expert

testimony explaining how Petitioner’s proposed combination of Hirsch with Martin

would result in the wholesale replacement of Hirsch’s recursive noise estimation

algorithm with Martin’s noise estimation algorithm and why a POSITA would not

have been motivated to make such a modification. Appx0768-0771. Andrea

explains in detail the differences between Hirsch’s and Martin’s noise estimation

algorithms, and why they would not have been interchangeable in the manner as



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proposed by Petitioner. Specifically, Andrea explained the differences between

Hirsch and Martin’s algorithms, including that they use different ways to estimate

signal properties and have different design preferences. Appx0770-0771 (citing

Appx0846-0847). Further, Martin estimates the signal-to-noise ratio, while Hirsch

does not use that parameter and makes its calculations with a much simpler

algorithm. Appx0770-0771 (citing Appx0846-0847); see also Appx0846-0847

(noting that the proposed combination of Hirsch and Martin would completely

eliminate the need for Hirsch’s recursive noise estimation algorithm).

      Notably, the Board did not address any of the differences identified by Andrea

and its expert, including why a POSITA would have been motivated to use Martin’s

signal-to-noise ratio parameter or more complex sub-window scheme, particularly

compared to Hirsch’s much simpler recursive noise estimation algorithm. See

Appx0015. Nor does it attempt to justify why a POSITA would have replaced the

recursive noise estimation algorithm central to the first noise estimation approach

described in Hirsch.    See Appx0015, Appx0448 (detailing Hirsch’s proposed

recursive noise estimation algorithm). Andrea also addressed Petitioner’s contention

that the proposed modification of Hirsch’s noise estimation algorithm with Martin’s

was suggested by the ability to optimize certain parameters. Appx0769. As

explained by Andrea’s expert, the suggested changes would have significant impacts




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on the operation of Hirsch’s system, and a POSITA would not have been motivated

to make such changes. Appx0845-0847.

      Instead of considering Andrea’s detailed arguments and evidence as to why a

POSITA would not have made the specific combination of Hirsch and Martin, the

Board simply credits the general and conclusory reasons proffered by Petitioner’s

expert for combining Hirsch and Martin. Appx0015-0016. In particular, the Board

credited Petitioner’s proposed modification because it “is simply ‘the general

approach followed by those working in the field of noise reduction, where

techniques addressing particular challenges or issues (e.g., noise reduction in

nonstationary sound environments) are routinely added to or used to modify an

existing noise reduction scheme.’” Appx0016 (citing Appx0108, Appx0399-0400).

This generic, conclusory rationale fails to address the particularized and detailed

arguments Andrea raised against the proposed combination of Hirsch and Martin.

See Appx0768-0771. Indeed, as noted by Andrea, the proposed modification would

eliminate the very recursive noise estimation algorithm proposed in Hirsch.

      The Board further erred by stating that “Patent Owner does not dispute

Petitioner’s characterization of the common practices in the art.” Appx0016. The

fact that a POSITA may use techniques in the art to modify an existing noise

reduction scheme fails to consider the particulars of the techniques being modified.

As explained above, the proposed modification is a wholesale replacement of



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Hirsch’s recursive noise estimation technique with Martin’s approach.            The

motivations for making such a wholesale replacement are based in hindsight and

should be rejected.

      Finally, the Board made no finding on reasonable expectation of success,

which is also a required showing for an obviousness analysis. Intelligent Bio-

System, Inc. v. Illumina Cambridge Ltd., 821 F.3d 1359, 1367-68 (Fed. Cir. 2016).

Given that Martin states that it provided “limited” noise suppression in its spectral

subtraction results, the Board needed to explain what in the record demonstrates that

a POSITA would have expected success in combining these references. This

missing finding is particularly acute here because Hirsch itself already demonstrated

successful results to solve the problem of speech pause detection. Appx0448;

Personal Web Techs., Inc. v. Apple, Inc., 848 F.3d 987, 993-94 (Fed. Cir. 2017).

This is particularly true considering the complex audio processing technology at

issue. See Samsung Elecs. Co. v. Elm 3DS Innovations, LLC, 925 F.3d 1373, 1381-

82 (Fed. Cir. 2019) (rejecting petitioner’s proposed substitution of elements as

obvious because of a lack of specific evidence of a reasonable expectation of

success).

                                 CONCLUSION

      For the foregoing reasons, the Board’s Remand Decision should be reversed

and the claims found not unpatentable.



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Date: May 31, 2023                      Respectfully submitted,

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                     ADDENDUM




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Challenged Claims 6-9 Are Unpatentable
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Trials@uspto.gov                                                  Paper 58
571-272-7822                                    Entered: November 29, 2022


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                               APPLE INC.,
                                Petitioner,
                                     v.
                   ANDREA ELECTRONICS CORP.,
                          Patent Owner.


                             IPR2017-00626
                           Patent 6,363,345 B1



Before MICHAEL R. ZECHER, JEREMY M. PLENZLER, and
MIRIAM L. QUINN, Administrative Patent Judges.
PLENZLER, Administrative Patent Judge.



                             JUDGMENT
                   Final Written Decision on Remand
          Determining Challenged Claims 6–9 Are Unpatentable
                        35 U.S.C. §§ 144, 318(a)

                          I.   INTRODUCTION
                       A. Background and Summary
      Apple Inc. (“Petitioner”) requested inter partes review of claims 1–25
and 38–47 of U.S. Patent No. 6,363,345 B1 (Ex. 1001, “the ’345 patent”).




                                Appx0001
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IPR2017-00626
Patent 6,363,345 B1
Paper 1 (“Pet.”). We issued a Decision instituting inter partes review.
Paper 7 (“Inst. Dec.”).
      After institution of trial, Andrea Electronics Corp. (“Patent Owner”)
filed a Patent Owner Response (Paper 11, “PO Resp.”), to which Petitioner
filed a Reply (Paper 18, “Pet. Reply”). An oral argument was held on April
25, 2018. A transcript of the oral argument is included in the record. Paper
25.
      Our Final Written Decision was issued on July 12, 2018. Paper 28
(“Original Decision” or “Original Dec.”). The Original Decision determined
that Petitioner had established unpatentability of claims 1–3, 12–25, 38, and
47 of the ’345 patent, but had not established unpatentability of claims 4–11
and 39–46 of the ’345 patent. Original Decision 24.
      On appeal, the U.S. Court of Appeals for the Federal Circuit vacated
our Original Decision only as to claims 6–9 of the ’345 patent and remanded
the case for further proceedings. Apple Inc. v. Andrea Elecs. Corp., 949
F.3d 697 (Fed. Cir. 2020). After conferring with the parties, we permitted
additional briefing addressing the issues on remand from the Federal Circuit.
Paper 36. Petitioner and Patent Owner simultaneously filed opening briefs
(Paper 41 (“Pet. Remand Br.”); Paper 42 (“PO Remand Br.”)), followed by
simultaneously filed Reply Briefs (Paper 44 (“Pet. Remand Reply”); Paper
43 (“PO Remand Reply”)). After further conferring with the parties, we
authorized an additional round of briefing (Paper 45), which was filed to
address claim 9 of the ’345 patent. Paper 46 (“Pet. Remand Sur-Reply”);
Paper 49 (“PO Remand Sur-Reply”). In view of the remand, we issued a
Final Written Decision on Remand only as to the patentability of challenged
claims 6–9, determining those claims unpatentable. Paper 50 (“Remand
Decision” or “Remand Dec.”).

                                      2
                                 Appx0002
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Patent 6,363,345 B1
        On appeal from our Remand Decision, “[Patent Owner] d[id] not
dispute that Martin discloses all of the limitations of claims 6 through 9,
with the exception of the step in claim 9 ‘wherein said future minimum
value is set to a current magnitude value periodically.’” Andrea Elecs. Corp.
v. Apple Inc., No. 2021-1248, 2022 WL 1197341, at *2 (Fed. Cir. Apr. 22,
2022). The Federal Circuit “affirm[ed] [our] decision finding that Martin
discloses the limitations of claim 9.” Id. at *5. The only issue remaining
before us is whether there is sufficient motivation to combine the teachings
of Hirsch and Martin with respect to claims 6–9. Id.
        For the reasons discussed below, we determine that Petitioner has
shown by a preponderance of the evidence that one skilled in the art would
have been motivated to combine the teachings of Hirsch and Martin with
respect to claims 6–9 and, therefore, Petitioner has shown that these claims
are unpatentable.
           B. Prior Art and Asserted Grounds Relevant to Remand
        Petitioner asserts that claims 6–9 would have been unpatentable based
on the following ground, which is the ground remaining for consideration on
remand:
      Claim(s) Challenged       35 U.S.C. §          Reference(s)/Basis
    6–9                        103              Hirsch 1, Martin 2

                              C. CAFC Remand
        On appeal, the Federal Circuit held that our Remand Decision erred
by failing to properly analyze the motivation to combine the teachings of


1
  H.G. Hirsch & C. Ehrlicher, “Noise Estimation Techniques for Robust
Speech Recognition,” IEEE 1995 (Ex. 1005, “Hirsch”).
2
  Ranier Martin, “An Efficient Algorithm to Estimate the Instantaneous SNR
of Speech Signals,” Eurospeech 1993 (Ex. 1006, “Martin”).

                                       3
                                  Appx0003
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IPR2017-00626
Patent 6,363,345 B1
Hirsch with those of Martin with respect to claims 6–9. Andrea, 2022 WL
1197341, at *1, 5.


                                II. ANALYSIS
                             A. Scope of Remand
      There is no remaining dispute as to whether the combination of Hirsch
and Martin teaches the limitations of claims 6–9. Hirsch teaches the noise
cancelling apparatus recited in claim 1, including the threshold detector
recited in that claim, as well as the additional details of that threshold
detector recited in claims 4 and 5 depending from claim 1. See Original
Dec. 6–7, 24; Remand Dec. 6. Martin teaches a threshold detector having
the additional features recited in claims 6–9, which depend from claim 5.
See Remand Dec. 6–17.
      In its remand decision, the Federal Circuit stated that “Hirsch does
refer to Martin as a known approach to avoid the problem of speech pause
detection to estimate noise and, based on that, it was reasonable for the
Board to find that a skilled artisan would have considered Martin’s teachings
generally when reviewing Hirsch.” Andrea, 2022 WL 1197341, at *5. The
Federal Circuit remanded for us to “address[] why a skilled artisan would
have specifically incorporated Martin’s noise power estimation algorithm
into Hirsch’s spectral subtraction system or threshold calculation” and to
“address[] any of the specific motivation issues contested by [Patent
Owner].” Id. Accordingly, the Federal Circuit remanded solely “for further
findings on the motivation to combine Hirsch and Martin with respect to
claims 6–9.” Id. That is, the scope of the remand is limited and requires us
to make specific fact findings related to whether/why Martin’s noise power
estimation algorithm would have been incorporated into Hirsch.


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                        B. Petitioner’s Combination
      With respect to claims 6–9, Petitioner’s combination of Martin’s
teachings with those of Hirsch is “to incorporate Martin’s technique for
estimating the noise floor of a signal within Hirsch’s adaptive threshold
calculation to improve operation of Hirsch’s system in non-stationary noise
settings.” Pet. 35 (citing Ex. 1003 ¶¶ 129–132).
      At this stage of the proceeding, there is no dispute that Hirsch
specifically identifies the problem of speech pause detection to estimate
noise, and specifically identifies Martin as a solution to that problem,
particularly in non-stationary noise settings. Petitioner contends that
because “Hirsch . . . did not test its system with non-stationary noise signals”
and “Martin . . . indicates that its noise floor estimation technique provided
good results in both stationary and non-stationary noise settings,” one skilled
in the art would have been “motivated . . . to alter Hirsch’s scheme to use the
Martin noise floor estimation technique.” Pet. 35–36 (citing Ex. 1005, 154;
Ex. 1006, 1095–1096; Ex. 1003 ¶¶ 128–129, 132). We agree.
      The cited portions of Martin support Petitioner’s position. See
Ex. 1006, 1095–1096 (discussing testing of the algorithm in non-stationary
noise settings and concluding that the arrangement “provides a
computational[ly] inexpensive and effective mean to cope with th[e]
problem”). And there is no dispute that Hirsch is silent as to the
effectiveness of its technique in non-stationary noise environments. See
Pet. 35 (“Hirsch explains its noise estimation scheme worked well for
stationary noise signals, but did not test its system with non-stationary noise
signals.”) (citing Ex. 1005, 154); PO Resp. 38 (“Hirsch includes no
explanation as to why Hirsch elected to test his techniques only in stationary
noise environments.”) (citing Ex. 2002 ¶ 87); PO Remand Br. 5 (“Nothing in

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Hirsch discusses how its algorithm might perform in non-stationary noise
environments.”) (citing Ex. 2002 ¶ 88). Hirsch, however, acknowledges that
“detection of speech pauses to evaluate segments of pure noise . . . is a
difficult task especially if the background noise is not stationary or the
signal-to-noise ratio (SNR) is low.” Ex. 1005, 153.
      Petitioner presents sufficient reasoning to incorporate Martin’s
algorithm into Hirsch’s system because Hirsch, itself, notes the difficulty of
addressing non-stationary noise environments, while leaving unaddressed
whether its system would be effective in such environments. Martin, on the
other hand, is expressly referenced in Hirsch as a known solution to the
problem identified in Hirsch, and provides a noise floor algorithm that
provides good results in non-stationary noise environments.
      Patent Owner disputes various aspects of the rationale provided by
Petitioner, which we address in more detail below. Based on the record
before us, however, the preponderance of the evidence supports Petitioner’s
position that one skilled in the art would have appreciated that Martin
provides a proven way to deal with non-stationary noise environments that
one skilled in the art would have been motivated to substitute into Hirsch’s
system based on Hirsch’s identification of this known problem and Martin as
a known solution to this problem.




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                         C. Patent Owner’s Rebuttal
 1. Whether Hirsch shows a need for improvement in non-stationary noise
       environments and whether Martin provides such improvement
      Patent Owner contends that “there is no basis that a skilled artisan
would have concluded that Hirsch’s noise estimation techniques needed to
be improved in non-stationary noise environments.” PO Resp. 37. Patent
Owner acknowledges that “Hirsch appears to have only tested its techniques
in stationary noise settings, but [contends that] there is no evidence
suggesting that Hirsch’s techniques would not work well, or would need to
be improved, in non-stationary noise environments.” Id. at 37–38. Patent
Owner contends that “Hirsch does not disclose that its techniques would
perform worse or not as well in non-stationary noise environments and
Hirsch includes no explanation as to why Hirsch elected to test his
techniques only in stationary noise environments.” Id. at 38. We agree that
Hirsch is silent on whether its system needed improvement in non-stationary
noise settings because Hirsch says nothings about its performance in non-
stationary noise settings. Compared to Hirsch’s unproven system, Martin’s
system is an improvement in non-stationary noise settings by virtue of being
a system tested and shown to be effective in such settings, as explained
below.
      There is no dispute that Martin provides an “approach[] known to
avoid the problem of speech pause detection and to estimate the noise
characteristics just from a past segment of noisy speech,” as acknowledged
by Hirsch, itself. Ex. 1005, 153; see also PO Resp. 35. Martin’s “algorithm
is capable to track non[-]stationary noise signals and has a low
computational complexity.” Ex. 1006, 1093. Martin tested its algorithm
with non-stationary noise and concluded that “[v]arying noise levels have a


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significant impact on the performance of many speech processing
algorithms” and “[t]he algorithm proposed in [Martin] provides a
computational[ly] inexpensive and effective mean to cope with this
problem.” Id. at 1095–1096.
      Patent Owner disagrees with the effectiveness of Martin’s algorithm.
Specifically, Patent Owner contends that “Martin does not report that the use
of his algorithm in his experiments produced good results in cases of non-
stationary noise environments.” PO Resp. 37 (citing Ex. 1006, 1094); see
also id. 39 (citing Ex. 2002 ¶ 87). Patent Owner additionally contends that
“Martin also reports less-than-satisfactory results when his algorithm was
applied to a spectral subtraction scheme.” Id. at 39 (citing Ex. 2002 ¶ 87).
This is inconsistent with the express teachings of Martin discussed above.
We credit Dr. Hochwald’s testimony in this regard, over that of Dr. Douglas,
because Dr. Hochwald’s testimony is consistent with the disclosure of
Martin. See, e.g., Ex. 1003 ¶¶ 128–129 (“Martin explains that the noise
floor algorithm is particularly suited to identifying noise in a frequency bin
during active speech [Martin, pg. 1094]” and “Martin’s algorithm has some
advantages in that it had been tested to work well with non-stationary
noise.”).
      Patent Owner and Dr. Douglas focus on inaccuracies discussed in
Martin during certain circumstances, but fail to address the expressly stated
overall effectiveness of Martin’s algorithm in non-stationary noise settings
as discussed above. See, e.g., Ex. 1006, 1095–1096. Dr. Douglas, for
example, testifies that “Martin concluded that . . . his algorithm did not
produce good results during periods of nonspeech activity,” with little
explanation, other than asserting that “Martin states on page 1095 that his
‘estimate is biased when no speech is present’ and states on page 1096 that

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his ‘algorithm is accurate for medium to high SNR conditions, but
necessarily biased when no speech is present.’” Ex. 2002 ¶ 87.
      Although Martin explains that “[t]he algorithm is accurate for medium
to high SNR conditions but necessarily biased when no speech is present,”
that bias is described as “slightly biased” in the preceding paragraph, which
Patent Owner acknowledges (PO Resp. 39). See Ex. 1006, 1096. We do not
agree with the characterization of Martin’s algorithm as being ineffective for
non-stationary noise situations when applied to a spectral subtraction scheme
because such a determination would ignore the express characterization in
Martin that its algorithm is, in fact, “a computational[ly] inexpensive and
effective mean to cope with th[e] problem.” Id.
2. Whether Hirsch disparages Martin because of the difference in length of
   past segments of noise speech and alleged significant difference in time
                 requirements between Martin and Hirsch
      Patent Owner contends that “Hirsch immediately disparages
techniques like Martin’s, explaining that ‘[t]he disadvantage of most
approaches is the need of relatively long past segments of noisy speech.’”
PO Resp. 35 (quoting Ex. 1005, 153). Patent Owner contends that “[t]he
relevant time frames of noisy speech segments required by the systems
described in Hirsch and Martin confirm Hirsch’s criticism of Martin . . . a
significant difference of more than 50%.” Id. (citing Ex. 2002 ¶¶ 83–84).
We disagree with Patent Owner that one skilled in the art would not have
looked to Martin’s teachings regarding estimating the noise floor of a signal
in non-stationary noise settings because Hirsch allegedly disparages Martin.
See id. at 35–36.
      Hirsch states that “[s]ome approaches are known to avoid the problem
of speech pause detection and to estimate the noise characteristics just from


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a past segment of noisy speech.” Ex. 1005, 153 (citing Martin and two other
references). Hirsch further explains that “[t]he disadvantage of most
approaches is the need of relatively long past segments of noisy speech”
without specifying the time period that constitutes “a relatively long past
segment” or if Martin is one “of most approaches.” Id. (emphasis added).
      We read Hirsch as simply describing alternate approaches. See In re
Fulton, 391 F.3d 1195, 1201 (Fed. Cir. 2004) (The “mere disclosure of
alternative designs does not teach away.”). “A reference that ‘merely
expresses a general preference for an alternative invention but does not
criticize, discredit, or otherwise discourage investigation into’ the claimed
invention does not teach away.” Meiressone v. Google, Inc., 849 F.3d 1379,
1382−83 (Fed. Cir. 2017) (citing Galderma Labs., L.P. v. Tolmar, Inc., 737
F.3d 731, 738 (Fed. Cir. 2013) and finding that a reference that provided a
feature that may have been inferior to another does not teach away from its
use because it does not amount to criticizing or promoting abandonment of
that feature). Martin’s algorithm requires 625 milliseconds to estimate
noise, whereas Hirsch needs past noisy segments of about 400 milliseconds.
The parties proffer competing testimony as to whether the 225 millisecond
difference is significant. See Ex. 1003 ¶ 129; Ex. 2002 ¶ 85.
      Dr. Hochwald testifies that “[t]o a person knowledgeable in the arts,
the difference between 0.4 seconds and 0.625 seconds is not very significant
in capturing speech data” without further evidence or explanation to support
that conclusion. Ex. 1003 ¶ 129. Dr. Douglas testifies without further
evidence or explanation that “[i]n [his] opinion a skilled artisan would have
thought that in the context of Hirsch’s and Martin’s disclosures the
difference between 625 milliseconds and 400 milliseconds is significant.”
Ex. 2002 ¶ 85. Neither testimony is helpful because those statements

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present conclusory statements as to the significance of the 225 milliseconds
difference. However, we can discern from the references themselves that
Hirsch does not teach away. See Belden Inc. v. Berk-Tek LLC, 805 F.3d
1064, 1079 (Fed. Cir. 2015) (“Board members, because of expertise, may
more often find it easier to understand and soundly explain the teachings and
suggestions of prior art without expert assistance.”).
      As explained above, the 400 millisecond scenario in Hirsch is
discussed in connection with evaluation of stationary noise signals. The
record is silent about the effectiveness of Hirsch’s 400 millisecond sample
size in non-stationary noise settings. Martin, on the other hand, specifically
tailors its window length to non-stationary noise settings, explaining that
“[t]he window length . . . must be large enough to bridge any peak of speech
activity, but short enough to follow non[-]stationary noise variations” and
“[e]xperiments . . . have shown that a window length of 0.625 s is a good
value.” Ex. 1006, 1094. Thus, we understand Martin’s 625 milliseconds as
being just one value that was found to be effective experimentally (“a good
value”) in non-stationary noise settings. We, therefore, find unpersuasive
Patent Owner’s position that 225 milliseconds is a significant difference
when the record lacks evidence of how or if 225 milliseconds would impact
Hirsch’s system’s performance in non-stationary noise settings (i.e., there is
no experimental determination in Hirsch as to what would be effective in
non-stationary settings and as Martin explained, these values are determined
experimentally).
      But even if we accept Patent Owner’s position that Hirsch’s 225
millisecond difference is significant, and assume (without any factual basis
from Patent Owner) that such a difference would remain even in non-
stationary noise settings, that is still not a reason to find that Hirsch teaches

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away from Martin. Based on the evidence before us, we have no way to
compare Hirsch and Martin with respect to effectiveness in non-stationary
noise settings. But between Hirsch and Martin, Martin is the only reference
that expressly states its effectiveness in non-stationary noise settings. See
Ex. 1006, 1096; PO Remand Br. 5 (Patent Owner acknowledging “[n]othing
in Hirsch discusses how its algorithm might perform in non-stationary noise
environments.”). That is, Hirsh’s disclosure of a shorter window length for
stationary noise settings does not disparage or discourage the use of Martin’s
techniques, known to be effective for non-stationary noise settings, even if
Martin’s technique uses a window length that is 225 milliseconds longer
than Hirsch’s.
      And, again, assuming that the shorter timeframe in Hirsch applies to
non-stationary noise settings, it is not necessarily an improvement over
Martin. Rather, one skilled in the art would have appreciated the benefits of
a proven system to handle an identified problem (e.g., the algorithm of
Martin addressing the problem identified in Hirsch) as a tradeoff to the
unproven system of Hirsch in non-stationary noise settings (at least based on
the evidence before us) with potentially shorter sample times required. See
Allied Erecting and Dismantling Co. v. Genesis Attachments, LLC, 825 F.3d
1373, 1381 (Fed. Cir. 2016) (“A given course of action often has
simultaneous advantages and disadvantages, and this does not necessarily
obviate motivation to combine.”) (quoting Medichem, S.A. v. Rolabo, S.L.,
437 F.3d 1157, 1165 (Fed. Cir. 2006)).
      As Petitioner notes, “Dr. Hochwald [testifies that] Hirsch’s prior
article [(Ex. 1032)] recognizes that there is a tradeoff between the accuracy
of a noise estimate and the ability to adapt to the noise and that the optimum
choice of window depends on the nature of the speech signals being

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considered.” Pet. Reply 17 (citing Ex. 1023 ¶¶ 33, 37). We credit the
testimony of Dr. Hochwald because it is consistent with and supported by
the disclosure of the prior article referenced in that testimony. See Ex. 1032,
24 (discussing window length relative to accuracy).
      The preponderance of the evidence supports Petitioner’s position that
Martin provides an effective noise floor algorithm in non-stationary noise
settings and that Hirsch would not discourage one skilled in the art from
looking to Martin’s teachings regarding that algorithm. Rather, based on the
express reference to Martin in Hirsch, Martin’s discussion of its favorable
results in non-stationary noise situations, and Hirsch’s silence with respect to
its effectiveness in non-stationary noise settings, one skilled in the art would
have been motivated to look to Martin’s noise floor algorithm.
3. Whether Hirsch obviates the need to address the speech pause detection
     problem and, therefore, a skilled artisan would not have looked to
                      Martin to address the problem
      Patent Owner additionally contends that “a skilled artisan would not
look to this disclosure in Martin as reason to improve Hirsch because
Hirsch’s techniques similarly obviate the need for speech pause detection,”
but acknowledges that “Hirsch notes that Martin’s algorithm avoids the
problem of speech pause detection.” PO Resp. 36. For the various reasons
explained above, we do not agree that Hirsch obviates the need to look to
Martin’s algorithm.
      As explained above, Hirsch notes the difficulties typically associated
with non-stationary background noise, but does not specifically discuss the
effectiveness of its algorithm in non-stationary noise settings, which is the
purpose for Petitioner’s proposed combination with Martin’s teachings.
Petitioner contends that “[t]he practices followed by the Hirsch authors is


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consistent [with] the general approach followed by those working in the field
of noise reduction, where techniques addressing particular challenges or
issues (e.g., noise reduction in nonstationary sound environments) are
routinely added to or used to modify an existing noise reduction scheme.”
Pet. 35 (citing Ex. 1003 ¶¶ 125–126). Petitioner’s contentions regarding
“the general approach followed by those working in the field of noise
reduction” noted above are supported by the testimony of Dr. Hochwald
noted above (Ex. 1003 ¶¶ 125–26) and are not disputed by Patent Owner.
      Because Martin provides an effective approach for non-stationary
noise settings, and similarly avoids the need for speech pause detection, we
agree with Petitioner’s contentions that one skilled in the art would have
combined Martin’s teachings with those of Hirsch, at least for non-stationary
noise settings. Hirsch identifies problems with speech pause detection, but
discusses effectiveness of its system only with respect to stationary noise
settings. We do not agree that this obviates the need to address speech pause
detection in all settings, particularly when Hirsch, itself, identifies the
difficulties associated with non-stationary noise settings, but fails to address
effectiveness of its system in such settings. See Ex. 1005, 153–154.




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          4. How the teachings of Hirsch and Martin are combined
      The manner in which the teachings of Hirsch and Martin are
combined (i.e., how the teachings are combined) does not appear to be
within the scope of this remand. As explained above, in its decision, the
Federal Circuit understood the “how” to be “specifically incorporat[ing]
Martin’s noise power estimation algorithm into Hirsch’s spectral subtraction
system or threshold calculation” and remanded for us to provide specific
findings related to why a one skilled in the art would have made that
modification. See Andrea, 2022 WL 1197341, at *5.
      Nevertheless, to the extent we misunderstood the Federal Circuit’s
remand instructions, and “how” the teachings of Hirsch and Martin are
combined is still at issue, we address Patent Owner’s contention that
“[Petitioner] fails to sufficiently explain how or why various elements from
the two systems described in Hirsch and Martin would be combined in the
manner as the elements are arranged in the claim.” PO Resp. 40. Patent
Owner refers to various portions of Dr. Hochwald’s testimony, but does not
allege any specific fault in the Petition. See id. at 40–43.
      As noted above, Petitioner explains that the proposed modification
“would have been to incorporate Martin’s technique for estimating the noise
floor of a signal within Hirsch’s adaptive threshold calculation to improve
operation of Hirsch’s system in non-stationary noise settings.” Pet. 35; see
also Pet. Reply 20 (“The one simple alteration, as Dr. Hochwald explained,
is modifying Hirsch’s adaptive threshold calculation ‘to use Martin’s noise
floor algorithm instead of Hirsch’s running average algorithm for deciding
the threshold in each frequency bin’” with “[t]he other steps in Hirsch . . .
remain[ing] unaltered.”) (citing Ex. 1003 ¶¶ 127–130). We determine that
this explanation by Petitioner sufficiently explains how to combine the

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teachings of Hirsch with those of Martin. And as explained above, the
Federal Circuit understood this to be the “how” as well. See Andrea, 2022
WL 1197341, at *5.
       According to Petitioner, and we agree, “[a] skilled person would have
recognized the Martin technique could be used in place of the analogous
determination being made in Hirsch for each frequency bin.” Pet. 37 (citing
Ex. 1003 ¶ 130). We understand Petitioner’s proposed modification to be a
substitution specifically of Martin’s noise floor algorithm into Hirsch’s
system. As noted above, Petitioner’s proposed modification is simply “the
general approach followed by those working in the field of noise reduction,
where techniques addressing particular challenges or issues (e.g., noise
reduction in nonstationary sound environments) are routinely added to or
used to modify an existing noise reduction scheme.” Pet. 35 (citing
Ex. 1003 ¶¶ 125–126). That is, this proposed modification would have been
within the level of skill in the art and would have been met with a reasonable
expectation of success. See Amgen Inc. v. F. Hoffman-LA Roche Ltd., 580
F.3d 1340, 1362 (Fed. Cir. 2009) (“An obviousness determination requires
that a skilled artisan would have perceived a reasonable expectation of
success in making the invention in light of the prior art.”). Patent Owner
does not dispute Petitioner’s characterization of the common practices in the
art.
       Based on the record before us, Petitioner provides sufficient
explanation of how the alleged teachings of Hirsch and Martin would have
been combined in the proposed modification as noted above.
                                D. Summary
       As explained above, Hirsch notes the difficulty of addressing non-
stationary noise environments, but does not provide results regarding the

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performance of its system in such environments. Martin provides a noise
floor algorithm that provides good results in non-stationary noise
environments. Based on the record before us, one skilled in the art would
have appreciated that Martin provides a proven way to deal with non-
stationary noise environments that one skilled in the art would have been
motivated to substitute into Hirsch’s system based on Hirsch’s identification
of this known problem and identification of Martin as a known solution to
this problem. Consequently, Petitioner has presented sufficient evidence to
support its reasoning as to why one skilled in the art would have been
motivated to combine the teachings of Hirsch and Martin with respect to
claims 6–9.
                                III. CONCLUSION 3
          In summary:
    Claims        35     Reference(s)/Basis          Claims      Claims
                U.S.C. §                             Shown      Not shown
                                                  Unpatentable Unpatentable
    6–9         103         Hirsch, Martin        6–9



                                     IV. ORDER
          In consideration of the foregoing, it is hereby:


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  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
Decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).

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      ORDERED that Petitioner has established by a preponderance of the
evidence that claims 6–9 of the ’345 patent are unpatentable; and
      FURTHER ORDERED that, because this is a Final Written Decision
on Remand, parties to this proceeding seeking judicial review of the
Decision must comply with the notice and service requirements of 37 C.F.R.
§ 90.2.




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                             Appx0019
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                                                                         100 Filed: 05/31/2023
                                                                                                                   US006363345Bl

(12)   United States Patent                                                                (10) Patent No.:                 US 6,363,345 Bl
       Marash et al.                                                                       (45) Date of Patent:                    Mar.26,2002


(54)    SYSTEM, METHOD AND APPARATUS FOR                                                                          OTHER PUBLICATIONS
        CANCELLING NOISE                                                              B.D. VanVeen and K.M. Buckley, "Beamforming: AVer-
                                                                                      satile Approach to Spatial Filtering," IEEE ASSN Magazine,
(75)    Inventors: Joseph Marash, Haifa; Baruch                                       vol. 5, No. 2, Apr. 1988, pp. 4-24.
                   Berdugo, Kiriat-Ata, both of (IL)                                  Beranek, Acoustics (American Institute of Physics, 1986)
                                                                                      pp. 116-135.
(73)    Assignee: Andrea Electronics Corporation,
                                                                                      Boll, IEEE Trans. on Aeons., vol. ASSP-27, No. 2, Apr.
                  Melville, NY (US)
                                                                                      1979, pp. 113-120.
( *)    Notice:       Subject to any disclaimer, the term of this                     Daniel Sweeney, "Sound Conditioning Through DSP", The
                      patent is extended or adjusted under 35                         Equipment Authority, 1994.
                      U.S.C. 154(b) by 0 days.                                                      (List continued on next page.)
                                                                                      Primary Examiner---Richemond Dorvil
(21)    Appl. No.: 09/252,874                                                         (74) Attorney, Agent, or Firm---Frommer Lawrence &
(22)    Filed:        Feb. 18, 1999                                                   Haug; Thomas J. Kowalski
                                                                                      (57)                  ABSTRACT
(51)    Int. Cl? ................................................ GlOL 21/02
                                                                                      A threshold detector precisely detects the positions of the
                                                                                      noise elements, even within continuous speech segments, by
(52)    U.S. Cl. ........................ 704/226; 704/233; 704/205                   determining whether frequency spectrum elements, or bins,
(58)    Field of Search ................................. 704/270, 500,               of the input signal are within a threshold set according to
                       704/233, 200, 201, 205, 226, 227, 228,                         current and future minimum values of the frequency spec-
                      211, 216; 379/22.08, 392.Dl, 3, 406.01,                         trum elements. In addition, the threshold is continuously set
                                    406.12, 406.13, 406.14, 406.05                    and initiated within a predetermined period of time. The
                                                                                      estimate magnitude of the input audio signal is obtained
(56)                      References Cited                                            using a multiplying combination of the real and imaginary
                  U.S. PATENT DOCUMENTS                                               part of the input in accordance with the higher and lower
                                                                                      values between the real and imaginary part of the signal. In
       2,379,514 A         7/1945     Fisher                                          order to further reduce instability of the spectral estimation,
       2,972,018 A         2/1961     Hawley et a!.
                                                                                      a two-dimensional smoothing is applied to the signal esti-
       3,098,121 A         7/1963     Wadsworth
       3,101,744 A         8/1963     Warnaka                                         mate using neighboring frequency bins and an exponential
                                                                                      average over time. A filter multiplication effects the subtrac-
                  (List continued on next page.)                                      tion thereby avoiding phase calculation difficulties and
                                                                                      effecting full-wave rectification which further reduces arti-
              FOREIGN PATENT DOCUMENTS
                                                                                      facts. Since the noise elements are determined within con-
DE                  2640324              3/1978                                       tinuous speech segments, the noise is canceled from the
DE                  3719963              3/1988                                       audio signal nearly continuously thereby providing excellent
DE                  4008595              9/1991                                       noise cancellation characteristics. Residual noise reduction
EP                0 059 745 B1           9/1982                                       reduces the residual noise remaining after noise can cella-
EP                0 380 290 A2           8/1990
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                                                                                      tion. Implementation may be effected in various noise can-
EP                0 411 360 B1           2/1991                                       celing schemes including adaptive beamforming and noise
EP                0 509 742 A2          10/1992                                       cancellation using computer program applications installed
EP                0 483 845              1!1993                                       as software or hardware.
                  (List continued on next page.)                                                            47 Claims, 10 Drawing Sheets


                               202

                                R(O) 1(0)

                                                   204                    206                                208

                                                                               Y(n)=
                                                                               1/3[Y(n-1 )+ Y(n)+Y(n+1 )]




                                                                   Time Domain
                                                             214"' Input Signal

                                                                                                            216



                                                                     Noise Processing




                                                                                                                                             Petitioner Apple Inc.
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                                                                             Shading                                 ~
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                                                                             Coefficients                            ......
                                                                                                                     ~
                            102             104                  106                 108
                                                                                                                     ......
                                                                                                                     =
                             ~
                           Input                        Combine               Multiply
                           Samples-     Collect
                                                        256 New               By       I
                                        Input                                                                        ~
                                                                                                                     ~
                                        Data
                                                        Point with            Hanning       -                        :-:
                                                        256 History           Window                                 N
                                                                                                                     ~~
                                                                                                                     N
                                                                                                                     c
                                                                                                                     c
                                                                                                                     N



                                                                                                                     'JJ.
                                                                 Overlap
                                                                                                           Output    ~
                                                                                                                     =-
                                     512PointHNoise       HIFFTHAnd      1-1--~                                      ~
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Appx0024
                           '-'--l•~l FFT       Processing        Sum                                       Samples
                                                                                                                     '"""'
                                                                                                                     0......,
                                                                                                             ~
                                  ?                (                                                         118     c'"""'
                                  110         112 (200)
                                                                        <
                                                                       114
                                                                                      <
                                                                                     116


                                                                       100
                                                                                                                     erJ'l
                                                                                                                     0'1
                                                                                                                     ~
                                                   Spectral Subtraction System                                       ~
                                                                                                                     ~
                                                                                                                     ~
                                                                  FIG. 1                                             (It

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                            R(O) I(                                                                                                       ......
                                                                                                                                          =
                                         204                       206                               2~8
                                          ~                          >                                                                    ~
                                                                                                                                          ~

                            R(n) I(        Y(n)=Max[R(n),l(n)]   __. Y(n)=                              Y(n)=                             :-:
                                                                                                                                          N
                                           +0.4*Min[R(n),l(n)]       1/3[Y(n-1 )+Y(n)+Y(n+1 )]          Y(n)t0.3+Y(n)t_ 1*0. 7            ~~
                                                                                                                                          N
                                                                                                                                          c
                                                                                                                                          c
                                                                                                                  ,,                      N

                                                                                     2>0                                          (300)
                                                                                                                        •   21~
                                                                                            t                                             'JJ.
                                                                                       Subtraction              Noise                     ~
                                                                                                                                          =-
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                                                                                                                                          ......




Appx0025
                                                                                       Process       -          Estimation                N
                                                                                                                                          0.....,

                                                                                            t                                             """'
                                                                                                                                          c
                                                                                       Residual
                                                                                  --   Process             --
                                                                                                  216             218
                                                                                                                                          erJ'l
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                                                             Noise Processing                                                             ~
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                                                                                                                                          (It
                                                                     FIG. 2                                                               ~
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                                                          300 (212)
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                                                304                                                          ......
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                                                                                                             ......
                                                                                                             =
                           302                   Future Minimum
                                            .    Search For                       Init With Y(n)
                             Y(O)                Min Over                         Every 5 Seconds
                                                                     f--                                     ~
                                                 5 Sec                                                       ~
                                                                           Init With Future Min              :-:
                                                                                                             N
                                                                           Every 5 Seconds                   ~~
                                                 Current Minimum 1---                                        N
                             Y(n)                Search For                                                  c
                                                                                                             c
                                                                                                             N
                                                 Min Over
                                                 5 Sec           ~306                                 312
                                                                                                             'JJ.
                                                                                                      <
                                                                                                    Noise
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Appx0026
                                                         lf[Y(n)>    N(n)=                                   ~
                                                                                                    Level
                                                         4*Min] f--. 0.05*New Data+
                                                               '                                    For
                                                                                                             0......,

                                                         Discard     0.95*N(n)
                                                                                                    Bin(n)   c'"""'

                                                         308               310

                                                                                                             erJ'l
                                                                                                             0'1
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                                                Noise Estimation Process                                     ~
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                                                          FIG. 3                                             ~
                                                                                                             (It

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                                                                                                          =
                                                        N(n)

                                                                                                          ~
                                                                                                          ~

                                                                             tv402                        :-:
                                                                                                          N
                                  Y(n)     • H(n) =     IIY(n)l - N(n)l                                   ~~
                                                                                                          N
                                                             IY(n)l                                       c
                                                                                                          c
                                                                                                          N



                                                                                                          'JJ.
                              ln[R(n)]      Out[R(n )]=In [R(n )]*H (n) tv404            Out To           ~
                                                                                                          =-
                                                                                                          ~
                                                                                     -                    .....




Appx0027
                                                                                         Residual Noise   ~
                               ln[l(n)]                                                                   0......,
                                             Out[ I(n )]=In [I (n )]*H (n)               Process
                                                                                                          c'"""'




                                                                                                          erJ'l
                                                                                                          0'1
                                                                                                          ~
                                                 Subtraction Process                                      ~
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                                                                                                          (It
                                                             FIG. 4
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                                                 Read Input
                                                  Samples
                                    600


                                                Store Data in
                                  602              Buffer




                                    604                               No-_.,.



                                                     Yes

            I
                                                      +
                                    '
                                               Move 512 Last
      608 (       Stored Inputs              Points to Processing
            \                       \                Buffer       IV 606



                                                 Perform 512
                                                 Points FFT
                                                                  IV 610



                 Stored Data
                                    ,             Store 256
                                             Significant Complex
      614   I [R(0-255);1(0-255)]
              \                     \          Points in Buffer  tv 612




                                                  0
                                        FIG. 6



                                                                                Petitioner Apple Inc.
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                                        0                         702

                                  Y(n)=Max[R(n),l(n)]+.,..---i        Stored Data
   704                             0.4*Min[R(n),l(n)]              [R(0-255); 1(0-255)]


     Stored Y(0-255)

                                          Y(n)=
                                 1/3[Y(n-1)+Y(n)+Y(n+1)]         706



                                         Y(n) 1=
                                  0.3*Y(n)t+0.7*Y(n)t_ 1     708




   714         716         Yes                             Yes          718           720

                  Replace Future            No      Replace Current
                 Minimum With Y(n)                 Minimum With Y(n)




     lnit Future Minimum                                         lnit Current Minimum
      With Current Y(n)                                            ith Future Minimum


     722                                    No                                     726




                                        ®
                                        FIG. 7




                                                                                            Petitioner Apple Inc.
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   802                       804         Yes

                                        N(n)t=
         N(0-255)                  N(n)t_ 1*0.095+
                                     Y(n)*0.05

  806                        808                                                  810

                                      H(n)=                          N(0-255)
    Stored Y(0-255)
                              {IIY(n)I-N(n)I}/IY(n)l                  Buffer

   812                       814                                                  816

        Stored Out                  Out[R(n),l(n)]=                Stored Data
    [R(0-255 ), 1(0-255)]          H(n)*ln[R(n), l(n)]          [R(0-255); 1(0-255)]




                                                          818

                                        Yes

                                                          820
                               Decay [R(n),l(n)]




                                     FIG. 8



                                                                                   Petitioner Apple Inc.
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       900                        902                              904
   (
        <                    I
                                   2         +                 (
                                                                    2
                                                                                           I
             Stored IFFT                                                Stored Out
                                        Perform IFFT
               Results                                              [R(0-255), 1(0-255)]
   \                         \                                 \                           \


                                  Sum First 256 Points 'V906
                                          With
                                   Previous Last 256
                                         Points




                                           Out




                                       FIG. 9




                                                                                           Petitioner Apple Inc.
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    SYSTEM, METHOD AND APPARATUS FOR                              correlated with the speech signal. The spectral subtraction
            CANCELLING NOISE                                      method, however, creates artifacts, sometimes described as
                                                                  musical noise, that may reduce the performance of the
      RELATED APPLICATIONS INCORPORATED                           speech algorithm (such as vocoders or voice activation) if
                      BY REFERENCE                              5 the spectral subtraction is uncontrolled. In addition, the
                                                                  spectral subtraction method assumes erroneously that the
   The following applications and patent(s) are cited and
                                                                  voice switch accurately detects the presence of speech and
hereby herein incorporated by reference: U.S. patent Ser.
                                                                  locates the non-speech time intervals. This assumption is
No. 09/130,923 filed Aug. 6, 1998, U.S. patent Ser. No.
                                                                  reasonable for off-line systems but difficult to achieve or
09/055,709 filed Apr. 7, 1998, U.S. patent Ser. No. 09!059,
                                                               10 obtain in real time systems.
503 filed Apr. 13, 1998, U.S. patent Ser. No. 08/840,159 filed
Apr. 14,1997, U.S. patent Ser. No. 09/130,923 filed Aug. 6,          More particularly, the noise magnitude spectrum is esti-
1998, U.S. patent Ser. No. 08/672,899 now issued U.S. Pat.        mated by performing an FFT of 256 points of the non-speech
No. 5,825,898 issued Oct. 20, 1998. And, all documents            time intervals and computing the energy of each frequency
cited herein are incorporated herein by reference, as are         bin. The FFT is performed after the time domain signal is
                                                               15 multiplied by a shading window (Hanning or other) with an
documents cited or referenced in documents cited herein.
                                                                  overlap of 50%. The energy of each frequency bin is
                FIELD OF THE INVENTION                            averaged with neighboring FFT time frames. The number of
                                                                  frames is not determined but depends on the stability of the
   The present invention relates to noise cancellation and        noise. For a stationary noise, it is preferred that many frames
reduction and, more specifically, to noise cancellation and 20 are averaged to obtain better noise estimation. For a non-
reduction using spectral subtraction.                             stationary noise, a long averaging may be harmful.
                                                                  Problematically, there is no means to know a-priori whether
          BACKGROUND OF THE INVENTION
                                                                  the noise is stationary or non-stationary.
   Ambient noise added to speech degrades the performance            Assuming the noise magnitude spectrum estimation is
of speech processing algorithms. Such processing alga- 25 calculated, the input signal is multiplied by a shading
rithms may include dictation, voice activation, voice com-        window (Hanning or other), an FFT is performed (256
pression and other systems. In such systems, it is desired to     points or other) with an overlap of 50% and the magnitude
reduce the noise and improve the signal to noise ratio (SIN       of each bin is averaged over 2-3 FFT frames. The noise
ratio) without effecting the speech and its characteristics.      magnitude spectrum is then subtracted from the signal
   Near field noise canceling microphones provide a satis- 30 magnitude. If the result is negative, the value is replaced by
factory solution but require that the microphone in the           a zero (Half Wave Rectification). It is recommended,
proximity of the voice source (e.g., mouth). In many cases,       however, to further reduce the residual noise present during
this is achieved by mounting the microphone on a boom of          non-speech intervals by replacing low values with a mini-
a headset which situates the microphone at the end of a           mum value (or zero) or by attenuating the residual noise by
boom proximate the mouth of the wearer. However, the 35 30 dB. The resulting output is the noise free magnitude
headset has proven to be either uncomfortable to wear or too      spectrum.
restricting for operation in, for example, an automobile.            The spectral complex data is reconstructed by applying
   Microphone array technology in general, and adaptive           the phase information of the relevant bin of the signal's FFT
beamforming arrays in particular, handle severe directional 40 with the noise free magnitude. An IFFT process is then
noises in the most efficient way. These systems map the           performed on the complex data to obtain the noise free time
noise field and create nulls towards the noise sources. The       domain data. The time domain results are overlapped and
number of nulls is limited by the number of microphone            summed with the previous frame's results to compensate for
elements and processing power. Such arrays have the benefit       the overlap process of the FFT.
of hands-free operation without the necessity of a headset. 45       There are several problems associated with the system
   However, when the noise sources are diffused, the per-         described. First, the system assumes that there is a prior
formance of the adaptive system will be reduced to the            knowledge of the speech and non-speech time intervals. A
performance of a regular delay and sum microphone array,          voice switch is not practical to detect those periods.
which is not always satisfactory. This is the case where the      Theoretically, a voice switch detects the presence of the
environment is quite reverberant, such as when the noises 50 speech by measuring the energy level and comparing it to a
are strongly reflected from the walls of a room and reach the     threshold. If the threshold is too high, there is a risk that
array from an infinite number of directions. Such is also the     some voice time intervals might be regarded as a non-speech
case in a car environment for some of the noises radiated         time interval and the system will regard voice information as
from the car chassis.                                             noise. The result is voice distortion, especially in poor signal
                                                               55 to noise ratio cases. If, on the other hand, the threshold is too
           OBJECTS AND SUMMARY OF THE                             low, there is a risk that the non-speech intervals will be too
                         INVENTION                                short especially in poor signal to noise ratio cases and in
   The spectral subtraction technique provides a solution to      cases where the voice is continuous with little intermission.
further reduce the noise by estimating the noise magnitude           Another problem is that the magnitude calculation of the
spectrum of the polluted signal. The technique estimates the 60 FFT result is quite complex. This involves square and square
magnitude spectral level of the noise by measuring it during      root calculations which are very expensive in terms of
non-speech time intervals detected by a voice switch, and         computation load. Yet another problem is the association of
then subtracting the noise magnitude spectrum from the            the phase information to the noise free magnitude spectrum
signal. This method, described in detail in Suppression of        in order to obtain the information for the IFFT. This process
Acoustic Noise in Speech Using Spectral Subtraction, 65 requires the calculation of the phase, the storage of the
(Steven F Boll, IEEE ASSP-27 N0.2 April, 1979), achieves          information, and applying the information to the magnitude
good results for stationary diffused noises that are not          data-all are expensive in terms of computation and




                                                                                                                           Petitioner Apple Inc.
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memory requirements. Another problem is the estimation of             ciated that, since the noise elements are determined within
the noise spectral magnitude. The FFT process is a poor and           continuous speech segments, the noise estimation is accurate
unstable estimator of energy. The averaging-over-time of              and it may be canceled from the audio signal continuously
frames contributes insufficiently to the stability. Shortening        providing excellent noise cancellation characteristics.
the length of the FFT results in a wider bandwidth of each 5             The present invention also provides a residual noise
bin and better stability but reduces the performance of the           reduction process for reducing the residual noise remaining
system. Averaging-over-time, moreover, smears the data                after noise cancellation. The residual noise is reduced by
and, for this reason, cannot be extended to more than a few           zeroing the non-speech segments, e.g., within the continuous
frames. This means that the noise estimation process pro-             speech, or decaying the non-speech segments. A voice
posed is not sufficiently stable.                                  10 switch may be used or another threshold detector which
    It is therefore an object of this invention to provide a          detects the non-speech segments in the time-domain.
spectral subtraction system that has a simple, yet efficient             The present invention is applicable with various noise
mechanism, to estimate the noise magnitude spectrum even              canceling systems including, but not limited to, those sys-
in poor signal-to-noise ratio situations and in continuous fast       tems described in the U.S. patent applications incorporated
speech cases.                                                      15
                                                                      herein by reference. The present invention, for example, is
    It is another object of this invention to provide an efficient    applicable with the adaptive beamforming array. In addition,
mechanism that can perform the magnitude estimation with              the present invention may be embodied as a computer
little cost, and will overcome the problem of phase associa-          program for driving a computer processor either installed as
tion.                                                                 application software or as hardware.
                                                                   20
    It is yet another object of this invention to provide a stable
mechanism to estimate the noise spectral magnitude without                  BRIEF DESCRIPTION OF THE DRAWINGS
the smearing of the data.                                              Other objects, features and advantages according to the
    In accordance with the foregoing objectives, the present        present invention will become apparent from the following
invention provides a system that correctly determines the 25 detailed description of the illustrated embodiments when
non-speech segments of the audio signal thereby preventing          read in conjunction with the accompanying drawings in
erroneous processing of the noise canceling signal during           which corresponding components are identified by the same
the speech segments. In the preferred embodiment, the               reference numerals.
present invention obviates the need for a voice switch by              FIG. 1 illustrates the present invention;
precisely determining the non-speech segments using a 30
                                                                       FIG. 2 illustrates the noise processing of the present
separate threshold detector for each frequency bin. The
                                                                    invention;
threshold detector precisely detects the positions of the noise
elements, even within continuous speech segments, by                   FIG. 3 illustrates the noise estimation processing of the
determining whether frequency spectrum elements, or bins,           present invention;
of the input signal are within a threshold set according to a 35       FIG. 4 illustrates the subtraction processing of the present
minimum value of the frequency spectrum elements over a             invention;
preset period of time. More precisely, current and future              FIG. 5 illustrates the residual noise processing of the
minimum values of the frequency spectrum elements. Thus,            present invention;
for each syllable, the energy of the noise elements is                 FIG. SA illustrates a variant of the residual noise process-
determined by a separate threshold determination without 40 ing of the present invention;
examination of the overall signal energy thereby providing
                                                                       FIG. 6 illustrates a flow diagram of the present invention;
good and stable estimation of the noise. In addition, the
system preferably sets the threshold continuously and resets           FIG. 7 illustrates a flow diagram of the present invention;
the threshold within a predetermined period of time of, for            FIG. 8 illustrates a flow diagram of the present invention;
example, five seconds.                                              and
                                                                 45
    In order to reduce complex calculations, it is preferred in        FIG. 9 illustrates a flow diagram of the present invention.
the present invention to obtain an estimate of the magnitude
of the input audio signal using a multiplying combination of                   DETAILED DESCRIPTION OF THE
the real and imaginary parts of the input in accordance with,                     PREFERRED EMBODIMENTS
for example, the higher and the lower values of the real and 50        FIG. 1 illustrates an embodiment of the present invention
imaginary parts of the signal. In order to further reduce           100. The system receives a digital audio signal at input 102
instability of the spectral estimation, a two-dimensional           sampled at a frequency which is at least twice the bandwidth
(2D) smoothing process is applied to the signal estimation.         of the audio signal. In one embodiment, the signal is derived
A two-step smoothing function using first neighboring fre-          from a microphone signal that has been processed through
quency bins in each time frame then applying an exponential 55 an analog front end, AID converter and a decimation filter to
time average effecting an average over time for each fre-           obtain the required sampling frequency. In another
quency bin produces excellent results.                              embodiment, the input is taken from the output of a beam-
    In order to reduce the complexity of determining the            former or even an adaptive beamformer. In that case the
phase of the frequency bins during subtraction to thereby           signal has been processed to eliminate noises arriving from
align the phases of the subtracting elements, the present 60 directions other than the desired one leaving mainly noises
invention applies a filter multiplication to effect the subtrac-    originated from the same direction of the desired one. In yet
tion. The filter function, a Weiner filter function for example,    another embodiment, the input signal can be obtained from
or an approximation of the Weiner filter is multiplied by the       a sound board when the processing is implemented on a PC
complex data of the frequency domain audio signal. The              processor or similar computer processor.
filter function may effect a full-wave rectification, or a 65          The input samples are stored in a temporary buffer 104 of
half-wave rectification for otherwise negative results of the       256 points. When the buffer is full, the new 256 points are
subtraction process or simple subtraction. It will be appre-        combined in a combiner 106 with the previous 256 points to




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provide 512 input points. The 512 input points are multiplied        mated by taking a long time average of the signal magnitude
by multiplier 108 with a shading window with the length of           (Y) of non-speech time intervals. This requires that a voice
512 points. The shading window contains coefficients that            switch be used to detect the speech/non-speech intervals.
are multiplied with the input data accordingly. The shading          However, a too-sensitive a switch may result in the use of a
window can be Hanning or other and it serves two goals: the 5 speech signal for the noise estimation which will defect the
first is to smooth the transients between two processed              voice signal. A less sensitive switch, on the other hand, may
blocks (together with the overlap process); the second is to         dramatically reduce the length of the noise time intervals
reduce the side lobes in the frequency domain and hence              (especially in continuous speech cases) and defect the valid-
prevent the masking of low energy tonals by high energy              ity of the noise estimation.
side lobes. The shaded results are converted to the frequency 10        In the present invention, a separate adaptive threshold is
domain through an FFT (Fast Fourier Transform) processor             implemented for each frequency bin 302. This allows the
110. Other lengths of the FFT samples (and accordingly               location of noise elements for each bin separately without
input buffers) are possible including 256 points or 1024             the examination of the overall signal energy. The logic
points.                                                              behind this method is that, for each syllable, the energy may
   The FFT output is a complex vector of 256 significant 15 appear at different frequency bands. At the same time, other
points (the other 256 points are an anti-symmetric replica of        frequency bands may contain noise elements. It is therefore
the first 256 points). The points are processed in the noise         possible to apply a non-sensitive threshold for the noise and
processing block 112(200) which includes the noise mag-              yet locate many non-speech data points for each bin, even
nitude estimation for each frequency bin-the subtraction             within a continuous speech case. The advantage of this
process that estimates the noise-free complex value for each 20 method is that it allows the collection of many noise
frequency bin and the residual noise reduction process. An           segments for a good and stable estimation of the noise, even
IFFT (Inverse Fast Fourier Transform) processor 114 per-             within continuous speech segments.
forms the Inverse Fourier Transform on the complex noise                In the threshold determination process, for each frequency
free data to provide 512 time domain points. The first 256           bin, two minimum values are calculated. A future minimum
time domain points are summed by the summer 116 with the 25 value is initiated every 5 seconds at 304 with the value of the
previous last 256 data points to compensate for the input            current magnitude (Y(n)) and replaced with a smaller mini-
overlap and shading process and output at output terminal            mal value over the next 5 seconds through the following
118. The remaining 256 points are saved for the next                 process. The future minimum value of each bin is compared
iteration.                                                           with the current magnitude value of the signal. If the current
   It will be appreciated that, while specific transforms are 30 magnitude is smaller than the future minimum, the future
utilized in the preferred embodiments, it is of course under-        minimum is replaced with the magnitude which becomes the
stood that other transforms may be applied to the present            new future minimum.
invention to obtain the spectral noise signal.                          At the same time, a current minimum value is calculated
                                                                     at 306. The current minimum is initiated every 5 seconds
   FIG. 2 is a detailed description of the noise processing
                                                                  35 with the value of the future minimum that was determined
block 200(112). First, each frequency bin (n) 202 magnitude
                                                                     over the previous 5 seconds and follows the minimum value
is estimated. The straight forward approach is to estimate the
                                                                     of the signal for the next 5 seconds by comparing its value
magnitude by calculating:
                                                                     with the current magnitude value. The current minimum
        Y(nH(Real(n)J"+(lmag(n)) t2 2
                                                                     value is used by the subtraction process, while the future
   In order to save processing time and complexity the signal 40 minimum is used for the initiation and refreshing of the
magnitude (Y) is estimated by an estimator 204 using an              current minimum.
approximation formula instead:                                          The noise estimation mechanism of the present invention
                                                                     ensures a tight and quick estimation of the noise value, with
        Y(n)~Max[iReal(n),Imag(n)i]+0.4*Min[iReal(n),Imag(n)i]
                                                                     limited memory of the process (5 seconds), while preventing
   In order to reduce the instability of the spectral estimation, 45 a too high an estimation of the noise.
which typically plagues the FFT Process (retl:2] Digital                Each bin's magnitude (Y(n)) is compared with four times
Signal Processing, Oppenheim Schafer, Prentice Hall P.               the current minimum value of that bin by comparator
542545), the present invention implements a 2D smoothing             308-which serves as the adaptive threshold for that bin. If
process. Each bin is replaced with the average of its value          the magnitude is within the range (hence below the
and the two neighboring bins' value (of the same time 50 threshold), it is allowed as noise and used by an exponential
frame) by a first averager 206. In addition, the smoothed            averaging unit 310 that determines the level of the noise 312
value of each smoothed bin is further smoothed by a second           of that frequency. If the magnitude is above the threshold it
averager 208 using a time exponential average with a time            is rejected for the noise estimation. The time constant for the
constant of 0.7 (which is the equivalent of averaging over 3         exponential averaging is typically 0.95 which may be inter-
time frames). The 2D-smoothed value is then used by two 55 preted as taking the average of the last 20 frames. The
processes-the noise estimation process by noise estimation           threshold of 4*minimum value may be changed for some
processor 212(300) and the subtraction process by sub tractor        applications.
210. The noise estimation process estimates the noise at each           FIG. 4 is a detailed description of the subtraction proces-
frequency bin and the result is used by the noise subtraction        sor 400(210). In a straight forward approach, the value of the
process. The output of the noise subtraction is fed into a 60 estimated bin noise magnitude is subtracted from the current
residual noise reduction processor 216 to further reduce the         bin magnitude. The phase of the current bin is calculated and
noise. In one embodiment, the time domain signal is also             used in conjunction with the result of the subtraction to
used by the residual noise process 216 to determine the              obtain the Real and Imaginary parts of the result. This
speech free segments. The noise free signal is moved to the          approach is very expensive in terms of processing and
IFFT process to obtain the time domain output 218.                65 memory because it requires the calculation of the Sine and
   FIG. 3 is a detailed description of the noise estimation          Cosine arguments of the complex vector with consideration
processor 300(212). Theoretically, the noise should be esti-         of the 4 quarters where the complex vector may be posi-




                                                                                                                            Petitioner Apple Inc.
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tioned. An alternative approach used in this present inven-        606---{)therwise control returns to step 600 where additional
tion is to use a Filter approach. The subtraction is interpreted   samples are read. Once 256 new samples are read, the last
as a filter multiplication performed by filter 402 where H         512 points are moved to the processing buffer in step 606.
(the filter coefficient) is:                                       The 256 new samples stored are combined with the previous
                                                                5 256 points in step 608 to obtain the 512 points. In step 610,
               IIY(nJI-IN(nJII                                     a Fourier Transform is performed on the 512 points. Of
        H(n) =      IY(n)l                                         course, another transform may be employed to obtain the
                                                                   spectral noise signal. In step 612, the 256 significant com-
                                                                   plex points resulting from the transformation are stored in
    Where Y(n) is the magnitude of the current bin and N(n)        the buffer. The second 256 points are a conjugate replica of
                                                                10
is the noise estimation of that bin. The value H of the filter     the first 256 points and are redundant for real inputs. The
coefficient (of each bin separately) is multiplied by the Real     stored data in step 614 includes the 256 real points and the
and Imaginary parts of the current bin at 404:                     256 imaginary points. Next, control advances to FIG. 7 as
                                                                   indicated by the circumscribed letter A
        E(Real)=Y(Real)*H;E(Imag)=Y(Imag)*H                           In FIG. 7, the noise processing is performed wherein the
                                                                15 magnitude of the signal is estimated in step 700. Of course,
    Where E is the noise free complex value. In the straight       the straight forward approach may be employed but, as
forward approach the subtraction may result in a negative          discussed with reference to FIG. 2, the straight forward
value of magnitude. This value can be either replaced with         approach requires extraneous processing time and complex-
zero (half-wave rectification) or replaced with a positive         ity. In step 702, the stored complex points are read from the
value equal to the negative one (full-wave rectification). The 20 buffer and calculated using the estimation equation shown in
filter approach, as expressed here, results in the full-wave       step 700. The result is stored in step 704. A 2-dimensional
rectification directly. The full wave rectification provides a     (2D) smoothing process is effected in steps 706 and 708
little less noise reduction but introduces much less artifacts     wherein, in step 706, the estimate at each point is averaged
to the signal. It will be appreciated that this filter can be      with the estimates of adjacent points and, in step 708, the
modified to effect a half-wave rectification by taking the 25 estimate is averaged using an exponential average having
non-absolute value of the numerator and replacing negative         the effect of averaging the estimate at each point over, for
values with zeros.                                                 example, 3 time samples of each bin. In steps 710 and 712,
    Note also that the values of Y in the figures are the          the smoothed estimate is employed to determine the future
                                                                   minimum value and the current minimum value. If the
smoothed values of Y after averaging over neighboring
                                                                   smoothed estimate is less than the calculated future mini-
spectral bins and over time frames (2D smoothing). Another 30
                                                                   mum value as determined in step 710, the future minimum
approach is to use the smoothed Y only for the noise               value is replaced with the smoothed estimate and stored in
estimation (N), and to use the unsmoothed Y for the calcu-         step 714.
lation of H.                                                          Meanwhile, if it is determined at step 712 that the
    FIG. 5 illustrates the residual noise reduction processor      smoothed estimate is less than the current minimum value,
500(216). The residual noise is defined as the remaining 35 then the current minimum is replaced with the smoothed
noise during non-speech intervals. The noise in these inter-       estimate value and stored in step 720. The future and current
vals is first reduced by the subtraction process which does        minimum values are calculated continuously and initiated
not differentiate between speech and non-speech time inter-        periodically, for example, every 5 seconds as determined in
vals. The remaining residual noise can be reduced further by       step 724 and control is advanced to steps 722 and 726
using a voice switch 502 and either multiplying the residual 40 wherein the new future and current minimum are calculated.
noise by a decaying factor or replacing it with zeros. Another     Afterwards, control advances to FIG. 8 as indicated by the
alternative to the zeroing is replacing the residual noise with    circumscribed letter B where the subtraction and residual
a minimum value of noise at 504.                                   noise reduction are effected.
    Yet another approach, which avoids the voice switch, is           In FIG. 8, it is determined whether the samples are less
illustrated in FIG. SA The residual noise reduction proces- 45 than a threshold amount in step 800. In step 804, where the
sor 506 applies a similar threshold used by the noise              samples are within the threshold, the samples undergo an
estimator at 508 on the noise free output bin and replaces or      exponential averaging and stored in the buffer at step 802.
                                                                   Otherwise, control advances directly to step 808. At step
decays the result when it is lower than the threshold at 510.
                                                                   808, the filter coefficients are determined from the signal
    The result of the residual noise processing of the present
                                                                   samples retrieved in step 806 the samples retrieved from
invention is a quieter sound in the non-speech intervals. 50 step 810 is determined from the signal samples retrieved in
However, the appearance of artifacts such as a pumping             step 806 and the estimated samples retrieved from step 810.
noise when the noise level is switched between the speech          Although the straight forward approach may be used by
interval and the non-speech interval may occur in some             which phase is estimated and applied, the alternative Weiner
applications.                                                      Filter is preferred since this saves processing time and
    The spectral subtraction technique of the present inven- 55 complexity. In step 814, the filter transform is multiplied by
tion can be utilized in conjunction with the array techniques,     the samples retrieved from steps 816 and stored in step 812.
close talk microphone technique or as a stand alone system.           In steps 818 and 820, the residual noise reduction process
The spectral subtraction of the present invention can be           is performed wherein, in step 818, if the processed noise
implemented on an embedded hardware (DSP) as a stand               signal is within a threshold, control advances to step 820
alone system, as part of other embedded algorithms such as 60 wherein the processed noise is subjected to replacement, for
adaptive beamforming, or as a software application running         example, a decay. However, the residual noise reduction
on a PC using data obtained from a sound port.                     process may not be suitable in some applications where the
    As illustrated in FIGS. 6-9, for example, the present          application is negatively effected.
invention may be implemented as a software application. In            It will be appreciated that, while specific values are used
step 600, the input samples are read. At step 602, the read 65 as in the several equations and calculations employed in the
samples are stored in a buffer. If 256 new points are              present invention, these values may be different than those
accumulated in step 604, program control advances to step          shown.




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   In FIG. 9, the Inverse Fourier Transform is generated in              7. The apparatus according to claim 6, wherein said future
step 902 on the basis of the recovered noise processed audio         minimum value is replaced with the current magnitude value
signal recovered in step 904 and stored in step 900. In step         when said future minimum value is greater than said current
906, the time-domain signals are overlayed in order to               magnitude value.
regenerate the audio signal substantially without noise.          5      8. The apparatus according to claim 6, wherein said
   It will be appreciated that the present invention may be          current minimum value is replaced with the current magni-
practiced as a software application, preferably written using        tude value when said current minimum value is greater than
C or any other programming language, which may be                    said current magnitude value.
embedded on, for example, a programmable memory chip or                  9. The apparatus according to claim 5, wherein said future
stored on a computer-readable medium such as, for example, 10 minimum value is set to a current magnitude value periodi-
an optical disk, and retrieved therefrom to drive a computer         cally; said current-magnitude value being the value of the
processor. Sample code representative of the present inven-          magnitude of the corresponding frequency bin.
tion is illustrated in Appendix A which, as will be appreci-             10. The apparatus according to claim 4, wherein said
ated by those skilled in the art, may be modified to accom-          current minimum value is determined as the minimum value
modate various operating systems and compilers or to                 of the magnitude of the corresponding frequency bin within
                                                                  15 a predetermined period of time.
include various bells and whistles without departing from
                                                                         11. The apparatus according to claim 4, wherein said
the spirit and scope of the present invention.
                                                                     threshold is set by multiplying said current minimum value
   With the present invention, a spectral subtraction system         by a coefficient.
is provided that has a simple, yet efficient mechanism, to               12. The apparatus according to claim 1, further compris-
estimate the noise magnitude spectrum even in poor signal 20 ing an averaging unit for determining a level of said noise
to noise ratio situations and in continuous fast speech cases.       within said respective frequency bin, wherein said threshold
An efficient mechanism is provided that can perform the              detector detects the position of said noise elements where
magnitude estimation with little cost, and will overcome the         said level of said noise determined by said averaging unit is
problem of phase association. A stable mechanism is pro-             less than the corresponding threshold.
vided to estimate the noise spectral magnitude without the 25            13. The apparatus according to claim 1, further compris-
smearing of the data.                                                ing a sub tractor for subtracting said noise elements esti-
   Although preferred embodiments of the present invention           mated at said positions determined by said threshold detec-
and modifications thereof have been described in detail              tor from said audio signal to derive said audio signal
herein, it is to be understood that this invention is not limited    substantially without said noise.
to those precise embodiments and modifications, and that 30              14. The apparatus according to claim 13, wherein said
other modifications and variations may be affected by one            subtractor performs subtraction using a filter multiplication
skilled in the art without departing from the spirit and scope       which multiplies said audio signal by a filter function.
of the invention as defined by the appended claims.                      15. The apparatus according to claim 14, wherein said
   What is claimed is:                                               filter function is a Wiener filter function which is a function
   1. An apparatus for canceling noise, comprising:               35 of said frequency bins of said noise elements and magnitude.
   an input for inputting an audio signal which includes a               16. The apparatus according to claim 15, wherein said
      noise signal;                                                  filter multiplication multiplies the complex elements of said
   a frequency spectrum generator for generating the fre-            frequency bins by said Weiner filter function.
      quency spectrum of said audio signal thereby generat-              17. The apparatus according to claim 13, further com-
      ing frequency bins of said audio signal; and                40 prising a residual noise processor for reducing residual noise
   a threshold detector for setting a threshold for each             remaining after said subtractor subtracts said noise elements
      frequency bin using a noise estimation process and for         at said positions determined by said threshold detector from
      detecting for each frequency bin whether the magnitude         said audio signal.
      of the frequency bin is less than the corresponding                18. The apparatus according to claim 17, wherein said
      threshold, thereby detecting the position of noise ele- 45 residual noise processor replaces said frequency bins corre-
      ments for each frequency bin.                                  sponding to non-speech segments of said audio signal with
   2. The apparatus according to claim 1, wherein said               a minimum value.
threshold detector detects the position of a plurality of                19. The apparatus according to claim 18, wherein said
non-speech data points for said frequency bins.                      residual noise processor includes a voice switch for detect-
   3. The apparatus according to claim 2, wherein said 50 ing said non-speech segments.
threshold detector detects the position of said plurality of             20. The apparatus according to claim 18, wherein said
non-speech data points for said frequency bins within a              residual noise processor includes another threshold detector
continuous speech segment of said audio signal.                      for detecting said non-speech segments by detecting said
   4. The apparatus according to claim 1, wherein said               audio signal is below a predetermined threshold.
threshold detector sets the threshold for each frequency bin 55          21. The apparatus according to claim 1, further compris-
in accordance with a current minimum value of the magni-             ing an estimator for estimating a magnitude of each fre-
tude of the corresponding frequency bin; said current mini-          quency bin.
mum value being derived in accordance with a future                      22. The apparatus according to claim 21, wherein said
minimum value of the magnitude of the corresponding                  estimator estimates said magnitude of each frequency bin as
frequency bin.                                                    60 a function of the maximum and the minimum values of the
   5. The apparatus according to claim 4, wherein said future        complex element of said frequency bins for a number n of
minimum value is determined as the minimum value of the              frequency bins.
magnitude of the corresponding frequency bin within a                    23. The apparatus according to claim 21, further com-
predetermined period of time.                                        prising a smoothing unit which smoothes the estimate of
   6. The apparatus according to claim 5, wherein said 65 each frequency bin.
current minimum value is set to said future minimum value                24. The apparatus according to claim 23, wherein said
periodically.                                                        smoothing unit comprises a two-dimensional process which




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averages each frequency bin in accordance with neighboring           37. The apparatus according to claim 26, further com-
frequency bins and averages each frequency bin using an           prising adaptive array means comprising a plurality of
exponential time average which effects an average over a          microphones for receiving said audio signal.
plurality of frequency bins over time.                               38. A method for driving a computer processor for gen-
   25. The apparatus according to claim 1, further compris- 5 erating a noise canceling signal for canceling noise from an
ing an adaptive array comprising a plurality of microphones       audio signal representing audible sound including a noise
for receiving said audio signal.                                  signal representing audible noise, said method comprising
   26. An apparatus for canceling noise, comprising:              the steps of:
   input means for inputting an audio signal which includes          inputting said audio signal which includes said noise
      a noise signal;                                          1o       signal;
   frequency spectrum generating means for generating the            generating the frequency spectrum of said audio signal
      frequency spectrum of said audio signal thereby gen-              thereby generating frequency bins of said audio signal;
      erating frequency bins of said audio signal; and               setting a threshold for each frequency bin using a noise
   threshold detecting means for setting a threshold for each 15        estimation process;
      frequency bin using a noise estimation process and for         detecting for each frequency bin whether the magnitude
      detecting for each frequency bin whether the magnitude            of the frequency bin is less than the corresponding
      of the frequency bin is less than the corresponding               threshold, thereby detecting the position of noise ele-
      threshold, thereby detecting the position of noise ele-           ments for each frequency bin; and
      ments for each frequency bin.                            20
                                                                     subtracting  said noise elements detected in said step of
   27. The apparatus according to claim 26, wherein said                detecting from said audio signal to produce an audio
threshold detecting means sets the threshold for each fre-              signal representing said audible sound substantially
quency bin in accordance with a current minimum value of                without said audible noise.
the magnitude of the corresponding frequency bin; said               39. The method according to claim 38, wherein said
current minimum value being derived in accordance with a 25 setting step sets the threshold for each frequency bin in
future minimum value of the magnitude of the correspond-          accordance with a current minimum value of the magnitude
ing frequency bin.                                                of the corresponding frequency bin; said current minimum
   28. The apparatus according to claim 27, wherein said          value being derived in accordance with a future minimum
future minimum value is determined as the minimum value           value of the magnitude of the corresponding frequency bin.
of the magnitude of the corresponding frequency bin within 30        40. The method according to claim 39, wherein said
a predetermined period of time.                                   setting step further comprises the step of determining said
   29. The apparatus according to claim 27, wherein said          future minimum value as the minimum value of the mag-
current minimum value is determined as the minimum value          nitude of the corresponding frequency bin within a prede-
of the magnitude of the corresponding frequency bin within        termined period of time.
a predetermined period of time.                                35
                                                                     41. The method according to claim 40, wherein said
   30. The apparatus according to claim 26, further com-          setting step further comprises the step of determining said
prising averaging means for determining a level of said           future minimum value as the minimum value of the mag-
noise within said respective frequency bin, wherein said          nitude of the corresponding frequency bin within a prede-
threshold detecting means detects the position of said noise      termined period of time.
elements where said level of said noise determined by said 40        42. The method according to claim 40, further comprising
averaging means is less than the corresponding threshold.         the step of averaging a level of said noise of said respective
   31. The apparatus according to claim 26, further com-          frequency bin, wherein said step of detecting detects the
prising subtracting means for subtracting said noise ele-         position of said noise elements where said level of said noise
ments at said positions determined by said threshold detect-      determined by said step of averaging is less than the corre-
ing means from said audio signal to derive said audio signal 45 sponding threshold.
substantially without said noise.                                    43. The method according to claim 40, wherein said step
   32. The apparatus according to claim 31, wherein said          of subtracting performs subtraction using a filter multipli-
subtracting performs subtraction using a filter multiplication    cation which multiplies said audio signal by a filter function.
which multiplies said audio signal by a filter function.             44. The method according to claim 40, further comprising
   33. The apparatus according to claim 31, further com-          the step of estimating a magnitude of each frequency bin as
                                                               50
prising residual noise processing means for reducing              a function of a maximum and a minimum of said frequency
residual noise remaining after said subtracting means sub-        bins for a number n of frequency bins.
tracts said noise elements at said positions determined by           45. The method according to claim 44, further comprising
said threshold detecting means from said audio signal.            the step of smoothing the estimate of each frequency bin.
   34. The apparatus according to claim 26, further com-             46. The method according to claim 39, further comprising
                                                               55
prising estimating means for estimating a magnitude of each       the step of receiving said audio signal from an adaptive array
frequency bin.                                                    of a plurality of microphones.
   35. The apparatus according to claim 34, wherein said             47. The method according to claim 38, further comprising
estimating means estimates said magnitude of each fre-            the step of reducing the residual noise remaining after said
quency bin as a function of a maximum and a minimum of 60 step of subtracting subtracts said noise elements at said
said frequency bins for a number n of frequency bins.             positions determined by said step of detecting from said
   36. The apparatus according to claim 34, further com-          audio signal.
prising smoothing means for smoothing the estimate of each
frequency bin.                                                                           * * * * *




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Date:       May 31, 2023                /s/ William D. Belanger
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